                Case 15-20630                       Doc 1                  Filed 06/15/15 Entered 06/15/15 02:23:45                                                                                        Desc Main
B 1 (Official Form 1) (04/11)
                                                                             Document     Page 1 of 48
                                        l )l\iITEI) STATES BANKRl r-rr:v COURT                                                              ~
~~~~~~~~~~~_N_'o_r_tl_le_~I_'I_l_[_)i_s_tI_'l_c_t~O:_'I_l_li_n_o_i_s~~~~~~~~_~~~                                                                                                  VOLVNTARYPETD10N
 Name of Debtor (If individual, enter Last.       First.   Middlc    r                                          I Name of Joint Debtor (Spouse) (Last. FI rSL. Middle)
  Huisar
 All       Akilahused bv the Debtor In the last ~ \ears
     Other Names                                                                                                I 1\11 (')1I"I'_'r
                                                                                                                I   !\         \
                                                                                                                                     N':lI1'I"S'
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 (include marr-ed. malden. and trade names):                                                                    ! unclude marncd. malden. and trade narncs)

 Last four digits of Soc. Sec. or Individual-Taxpayer             l.D. (IT N)/Complete EIN                          Last four digits of Soc. Sec. or lndividual-Taxpayer                                           l. D. (lTI N l/Comolci. LI N
 (i r more than one. state all)                                                                                     (i f more than one. state all):
  34~!1
 Street Address or Debtor (No and Street. City, and State)                                                          Street Address of Joint Debtor (No, and Street City. and State)

 16218 Hanlan
 Markham, IL
                                                                                 VIP CODER04?R          I
 County or Residence or or the Pnncipal Place of BUSiness'                                                          County of Residence or of the Principal Place of Business
  Cook
 Mailing Address of Debtor (if different from street address)                                                       Mail ing Address of Joint Debtor (i f different                                     from street address)



                                                                                 [II' CODI
 Location or Princrpal Assets of Business Debtor (If different from street address abovc).
                                                                                                        I       L                           ,~                             ~~-_~                                     ~                          _
                                                                                                                                                                                                                          PIP COD!':
                            Type of Debtor                                                      Nature of Business                                                    Chapter of Hankruptcv Code Under '\\'hich
                        (Form of Organ izauon )                                   (Check one box)                                                                        the Petition is Filed (CheCK one box)
                           (Check one box.)
                                                                                   D    Health Care Business                                               b2l        Chapter      7                           D      Chapter 15 PetitiO 1 lor
 [iI     Individual (includes Joint Debtors)                                       D    Single Asset Real Estate as defined in                             D          Chapter      9                                  Recognition of a I,orl'lgn
         See Exhibit f) Oil page 2 ofthisform.                                          lILJ.SC ~ IOI(SIB)                                                 D          Chapter      II                                 Main Proceed lllg
 o       Corporation (includes LLC and LLP)                                        D    Railroad                                                           D          Chapter      I~                          0      Chapter 15 PetIllO 1 (or
 o       Partnership                                                               o    Stock broker                                                       0          Chapter      1]                                 Recognition of a I,(Ii\q;n
 D       Other (I f debtor IS not one of the above entities, (heck                 D    Commodity Broker                                                                                                              Nourn.nn linH.:l'ed I II ~~
         this box and state type of entity bclowj                                  D    Clearing Bank
                                                                                   D    Other
                         Chapter 15 Debtors                                                     Tax-Exempt Entity                                                                                       Nature of Debts
 Country of debtor's center of main interests:                                               (Check box, if applicablc.j                                                        (Check one box)
                                                                                                                                                           ~ Debts are primarily consumer                                       D   Debts an
                                                                                  D     Debtor is a tax-exempt organ ization                                 debts. defined III 11 U.S,C.                                           prirnarif
 Each country in which a foreign proceeding by. regarding. or                           under title 26 of the United States                                  ~~ 101(~) as "incurred by' all                                         busincs- deus
 against debtor is pending                                                              Code (the Intcrnal Revenue Code)                                     individual primarily for a
                                                                                                                                                                  personal. Iarmlv. or
                                                                                                                              _ _ _ _ _ _..1....-_ _,
                                                                                                                                                                  household purposc '
                                    Filing Fee (Check      OIlC   box.)                                                                                                Chapter 11 Debtors
                                                                                                                    Check one box:
 [J]     Full Filing Fee attached                                                                                   o       Debtor is a small business debtor as defined III 11 ISC ~ I () II,,';; IIII
                                                                                                                    D       Dcbtorisnotasmallhusincssdehtorasdl'tincdlTl 11LJS,C ~ 101(51))
 o       Filing Fee to be paid in installments (applicable to individuals only). Must attach
         signed application for the court's consideration certify ng that the debtor is                             Check if:
         unable to pay fee except in installments. Rule I006(b). See Official Form 3A                               o       Debtor's aggregate noncontingent liquidated dents (excluding debts ov.cd to
                                                                                                                            lflS idcrs or ulfil iates) arc less than $1.49().925 (W11011111 subject 10 WI! nstment
 o       Filing Fcc waiver requested (upplicablc to charter 7 in.lividuals only) Must                                       on -I ()1/6 and e\'eJ)' three years thereafter)
         attach signed appl ication for the court's consideration StX Official Form 3 B
                                                                                                                    Check all applicable boxes:
                                                                                                                    D       ;\ plan is being tIled with this petition
                                                                                                                    D       Acceptances of the plan were solicited prcpetiuon from one or more                                                  ,..:1.1\SCS
                                                                                                                            of creditors. In accordance with II USC ~ 1126(b)
 Statistical/Admin istrative Information                                                                                                                                                                                        TillS SP.HT IS FOJ{
                                                                                                                                                                                                                                ('OURI   l:S~   O>d,\
 o            Debtor estimates that funds will be available lor l istribution to unsecured creditors.
 I::tl        Debtor csnmatcs that. alter any' exempt property IS excluded and administrative expenses paid. there will be no funds available tor
              distribution to unsecured crcduors
 Estimated Number of Creditors
 ~              [J             0                  []                 0                  0                   0                           0                            D                                   []
 1-49           50-99           100-199           2()()-99LJ         1,O())-            5.1)01-             I o.our                     25.()()1-                    5(J.()OI-                           Over
                                                                     5.0() )            IO.()()O            25.()UO                     50.()()()                    IOO,()O()                            1ClO,O(JO

 Estimated Assets
 [J)            [J             D                  []                 D                  D                   0                           D                            D                                    []
 $0 to          $50,001 to     $lOCUWl to         $500.001           $I.OJO.()()]       $10.000,001         $50,000,001                $100,()O().OOI                $500.000.00 I                       More than
 S50.()OO       $IOO.()()()    $5()().OOO         to $1              to   s ()          to $50              to $100                    to $500                       to $1 billion                       $1 billion
                                                  million            million            million             million                     million
 Esti mated L iabiliucs
 ~              D              D                  []                 D                  D                   D                           D                            D                                    []
 SO to          $50.0()] to    $100.00 I to       $5()().()O!        $I.())().()()I     $1 O.OOO.UO I       $50.()OO,OOI                $IO(),()O().OOI              $50U.OOO.UO I                        More man
 $50.000        $100.000       $500.000           to $1              to $ ()            to $SO              to $I()()                   to $S()()                    to $1 billion                       $1 billion
                                                  million            mill on            million             million                     million
                   Case 15-20630                     Doc 1             Filed 06/15/15 Entered 06/15/15 02:23:45                                                   Desc Main
B I (Official Form I) (04/13)                                            Document     Page 2 of 48
 Voluntary Petition                                                                                      fNlli1lC(;_f Debtorts):
 (Fhis page must be completed andfiled 111 erelY case)                                                   L­
~~~~~~~~~~~~~~_i_\_II_I_)r_i_o_r_B_a_n_k_·I_·"~p_t_c~y
                                                    (~ses Vi~d                           "'ithin   1~~8 Years(Il~norcthan t"D. auac_h_a_d_d_it_ll_)I_la_l_s_h_e_etr._)~~_~~~~~~'~~_
 l.ocauon                                                                                                  Case Number                                          Date Filed
 Where Filed:
 l.ocauou                                                                                                  Caxe Number                                          I)ate hied
 Where Flied
                             Pending Bankruptcy Case Filed b)          ~W)'   Spouse, Partner, or Affiliate of this Debtor (If more than one. attach additional sheet t
 Name of Debtor:                                                                                       Case Number                                     Date Filed

 DIstrict                                                                                                  Relationship'                                        Judge



                                             Exhibit j\                                                                                            Exhibit B
 (To be completed if debtor IS required to tile periodic reports (c.g .. forms 10K and                                             (To be completed If debtor 1>1 an 1IIdl\ idual
 IOQ) WIth the: Securities and Exchange Commission pursuant to Section 13 or 15(d)                                                 whose debts arc primarily consumer dcbts.)
 of the Securities Exchange Act of 1934 and IS requesting rei cf under chapter 1I.)
                                                                                                           I, the attorney for the petitioner named in the Iorcgorng petition. declare tluu I have
                                                                                                           informed the petitioner that [he or she I may proceed under chapter 7. I I. 1:2 or 1.3
                                                                                                           of title '1 I. United States Code. and have explained tl:c reiief available under each
                                                                                                           such chapter. I further certify that I have delivered to the debtor the nouc, rcq.urcd
                                                                                                           by II USC ~ 342(b).
 D       Exhibit A    IS   attached and made a part of this petition
                                                                                                                 /s/Ronald Lorsch
                                                                                                                ----------"----~~--~----~~--~-----
                                                                                                                Signature of Attorney for Debtort sl

                                                                                                   Exhibit C:
 Docs the debtor own or have possession of any propcrtv that             P()S~s    or is alleged to pose a threat or imminent and identifiable harm to public health or satctv'

 DYes, and Exhibit C is attached and made a part of this petition.

 o       No.



                                                                                                   Exhibit D
 (To be completed by every individual debtor. Ifa joint petit on is filed. each spouse must complete and attach a separate Exhibit D.)

  ~     Exhibit D. completed and signed by the debtor. is ana. hcd and made a part of this petition.

 II' this is a joint petition:

  D      l.xhihit D. also completed and signed by the joint deb or,           IS   attached and made a part of this petition.




                                                                           Information Regarding the Debtor - Venue
                                                                                    (Check any applicable box.)
                           Debtor has been domiciled or has had a residence. pnncipal place of business. or principal assets in this District for I XO days immediately
                           preceding the date of this petition or tor ~ longer part of such 180 days than in any other District.

               D           There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

               D           Debtor IS a debtor III a Iorcigu procccdin ; and has Its principal place of business or principal assets in the United States in this Distnct. or has
                           no principal place of business or assets n tile United States but IS a defendant III an action or proceeding [In a federal or state court I In thrs
                           District or the interests of the parties wil be served in regard to the relief sought ill this District


                                                       Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                              (Check all appl icable boxcs.)

               D             Landlord has a j udgrncnt against the d .btor for possession of debtor's residence. (II' box checked, complete the following)


                                                                                                           (Name of landlord that obtained judgment!



                                                                                                           (Address of landlord)

               D             Debtor claims that under applicable ncnbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                             entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

               D             Debtor has included with this petition .hc deposit with the court         or any rent that would become due during the 30-da)        period after the filmg
                             of the petition

               D             Debtor certifies that he/she has served the l.andlord with this certification (I I l IS.C ~ 362(1)).
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      Voluntary Petition
      (This page fill/sf he completed andfiled               lJ1   en'IY casc.)
                                                                                                                                    I
                                                                                                                                    Name of Ikbtor(s)

                                                                                                                            Signatun's
                                   Signature(s) of Debtorts) (Individual/Juintj                                                                                           Signature of a           Fon.'i~:n      H.r'pn's.. ' ntatiH'

      I declare under pcnaltv ofpcrjur: that the intormanon                               provt..cd   ill   thIS petition IS true   ! declare lIJH.!L'r pcnalt, o tpcrjur, that till' in torm.u ron I,m\ 1~:l'~II!' rhl" I'l' l (1I1 h !llll'
  and correct.                                                                                                                      and C"!T~l'L that I am the for~~lgn r'~'prCsl'J1l;lll\e (,I' cl dd,t()j in .: i(lIl'I>!", .-r.«. .'l·dII1~:.

      [It petitioner  an mdividuai
                         IS                          who «: debts arc rr:llltll'li~~onsulnlr debts ~l11J has                        and that        I am uuihon/cd to fik thiS pcnuon
  chosen 10 file LInder chapter 71                  I am aware that I ma, proceed under chapter 7. 1l . 12
                                                                                                                                    (Check 01'1\ nne box.)
  or 13 of titk ! i . United States                 Code. understand  thl' relld' availabic under each such
  chapter. and choose to proceed                    under chapter 7
                                                                                                                                    D       I rccucst rl'lll'I'11l ;lcl'ord;tlll'l' \\ltill'llcqill'l 1'- o lutl,' 11 llllll',: I...,LI:l" I).;,
      II t no .utorncv represents me and no hankruptc: pcuuon prepare! slg.ns the petition)
                                                                                                                                            ('l.'rl 1I'Ied l'{IP 11..'') 0 I"t hI..' docu IllI.'!'lt" ll.'lj III rl.'~j II'. 1 I l ."- (. ~. I~; 1'~ ; ifl' ~I .t« Ii,.',:
      have obtained and read the noucc required h\ II l:SC ~ 3,,2(h)
                                                                                                                                    o       Pursuant to I 1 l.:S (' ~ , ) 1I. I rl.'ljul'st rl.'III.'1                   W        al.'I.',)rd~lnl.'l' \\ .th ll1<.,'
      I   request   relief    in   accordance with         the chapter 01' title II. Unncd States Cock.                                     chapter' olutlc 11 spl'clfl,-'d IIl:ilIS rll'tltloll                       -\ cl'rI'fled             Ul!'\     o lth..
  specified in Ihis petition                    ;                                                                                           order granting rccournuon o lihc                       t'orl'I~~11 m;1111 ilro(~I.'I.'dI'l~l. I" :lll:ll'/1L,d
                     ~
                     ~             (;C-
  X                                            ,-.~.,.~._--~~-~.~~~~                                                _
                                                                                                                                    x

      x
             Signature of .I0 111t Debtor


             Tctcphonc Number             (I   r not represented          h: attoruc. I                                                                                                                                                                                                                 Ii
                                                                                                                                                                                                                                                                                                        I
             Date                                                                                                                                                                                                                                                                                       I
                                                                                                                                                                                                                                                                                      -~
                                                    Signature of Atturnev"                                                                              Signaturt..' of        :\on-.\ttorll""~         Bankruptrv P.. -titio n Prcpurcr

  x           lsi Ronald Lors_c_h                          _                                                                        I declare under pcnalr, of pcr',lur', tha: (I) I am ;1 banl.rupu. tll.:llllOII i'~';);lfl.'r· :h
             Signature of Attorney for Dcbtort s)                                                                                   defined III II lS C ~ 11()~ (~) I prepared thiS dllCUIlk'Il1 lor~·oI11PI.'Il~;;1l1()11 .rn.l h:l\l'
              Ronald Lorsch                                                                                                         provided the debtor with a ,~Op\ of tIllS d.xu.ucnt ;lnd 1111..' l]()tll'~.'S ;lIIl.i 11l!(rn:ltl()ll
             Printcd Name of A ttorncv for I )ebtor(~.)                                                                             required under I ' l l S (' ~~ 11()(hl. 11()(h). a:1d~·L~lh, :llld (.~) II 'uk" o:
              Law Office of Rona-ld Lorsch                                                                                          gUldl.'IIIll',) ha\l' hl.'l'll ~lroIl1l1Ig:11l'd !lll/Sll:lllt to II lSI,'                                    Illl!'!l ~'I.'ltll:': I:Ll\llllL,lll
             l-inn Name                                                                                                             kl' !<H' ~;\.T\I(CS cflargl'~lhk h\ har~rl!ptL'\ :'l'titlol) r'rl'[l~lrl'rs. 1I';l\l' ~11\~'1: tiL' lk'')tor
                                                                                                                                    nonce 01 the maxuuum an.ount br torc p/I.'f'allll~~ ~1!1\ ..ocumcnt t()II'lllli~',                                                      1(1       :llkhtor
              1829 W 170th Street                                                                                                   01   aCl'l'pllllg ~111\ kl.' lrum thl' ckl;~()r. ;1') Il'\!L1l/l'l 111 th.u "I.'dII1l1                                  (Jlt"ill,l,         I .un         II) I"
              Hazel Crest, IL 60429                                                                                                 tlttllc hl~cI
            ------ -                           ----_.     ----------

             \~J,
              708-799-0102
            Telephone Number                                                                                                                Pruned Nam,: and title. if anv . or BanhllptC\ I'cuuin                                             PIl'i'JII..'1


             Date
                                                                                                                                            SOCltll-Sl'CLlrlt\ number (If tl'l.' h;lllbllptl'\ pl.'lltl(JI1 !)Il'p;rl'r                                    1\   Iwt ;[11         ILlI\ idli~ll
  *In a case in which ~ 707(b)(4)(()) applies  this signaturc a so consututc, a                                                             stal.\.' the Soclal-Sel'llrlt\ 1111mhl'I ul till.' (Jtl!~I.T !'Illll'Ii'al. 'l',,[iOlbll'k i'lT..,~)J1 or
  certification that the attornc. has no knowledge aucr an m. UII\ th.u till' inform.n ion                                                  partner of till' htlnh:rllptl'\ Pl't 1.1011 1'/lT;III.'1 ) (!\l'lIUlll'd Ii\ III                                     ~~   (     ~ 11        I )
  in the schedules IS incorrect


                              Signature of Dehtor (Corporation/Partn ...' rship)

  I declare under penalty of per,lury that the II1formation pro\lded in thiS petitIon IS true                                               Address
  and correct and that I have been authorIZed to file this petition on behalf of the
  debtor.
                                                                                                                                    x
  The debtor requests the relief in accordarlC                     l..'   \\   Ith thl.' chapt..'r or tl1.1c 1I. Ul1itcd States
  Code, specitied l!l this petition


  x
            Signature or Authorized IndiVIdual
                                                                                                                                    Slgnatule of h:tnh:rllptc: pelltloll prcpdfcr or olll(l'r, 1)/lnl·lp;t!. rl",poll"I!'k ;IT',''11 or
            Printed Name of Authorl/ed IndiVIdual                                                                                   partner \\llOSC SlKlal-Sl'l'urlt\ numhl'I                      IS   !'ro\llLd dbo\l.'

            Title   or AuthorLted IndiVidual                                                                                        Names :l1ld Soclal-Sl'clmt: flllllll11.'IS or :11 othel I Ild I\ III L1:lls \\ 1'1\) prl.'(1:11,_'.J                                        (II   a,,:--]"lL'd
                                                                                                                                    111 prep;mng thiS dOClIllll'llt                   UIIk'S" thl' I,allkluptc:                          pl'lltloll        prl.l)~l','           I"    IlUt dll
            Date
                                                                                                                                    IndlviJlIal


                                                                                                                                    If mon~ than one pClson prl.'litlred thIS dOlllllll'I11. attach ,1ddltl(\ll~,1 Slll'l'l" ~.~ 11I()rI11IIl~'
                                                                                                                                    to the approprlatl' olliclal form for e]ch PI.'I",) 0 11


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L..                                                                                         •                                   -a. bo{h.     II U.s.( .     ~
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 FB 20 1A (F orm 201A ) (6/ 14)




                           NOTICE T()            C~ONSUMER DEBrr()R(S)  UNDEll §342(b)
                                               or    TI-IE BANKI~UPTCY CODE
         In accordance with § 342(b) of the Bankruptcy Code, th is notice to ind iv iduals with prunari I) consumer
 debts: (1) Describes briefly the serv ices avai lab Ie from cred it counsel ing scrv ices: (2) Dcscri bcs bricflv the
 purposes, benefits and costs of the four tvpcs of bankruptcy proceedings you mav commence: and (J) l nforrn-: you
 about bankruptcy crimes and noti Iics you that the Attorney (jenera I may exam inc all information you supp I~ in
 connection with a bankruptcy case.

        You are cautioned that bankruptcy law is complicated and not easily described. Thus. you mav \\ish to seck
the advice of an attorney to learn of your rights and responsibi Iities should you dec ide to fi lc a petit ion. Court
employees cannot give you legal advice.

         Notices from the bankruptcy cout are sent to the mailing address you list 011 your bankruptc, pennon. In
order to ensure that you receive information about events concerning your case, Hankruptcy Rule ,~()()2 requires il.at
you not ify the co urt 0 fan y chan g e sin y c'u I' add rc S s. If you are f ling a j 0 i n t ca se (a sill g IC ban k rup t c yea sc to r ,\\ 0
individuals married to each other), and each spouse lists the same mailing address on the bankruptcy petition. yULI
and your spouse will generally receive a single copy of each notice mailed from the bankruptcy court in njoint!'.­
addressed envelope. unless you file a statement with the court requesting that each spouse rcce iv e a separate c()P,~ of
all notices.

 1. Services Available f..' OIlI C ..' edit   COllnselin~ Agencies


        With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file
for bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the' available opportuu ities
for credit counseling and provides assistance in performing a budget analysis. The briefing must be given
within 180 days beforc the bankruptcy tiling. The briefing may be provided individually or in a grulip (iuclud ing
briefings conducted by telephone or on the Internet) and must be provided by a nonprofit budget and credit
counseling agency approved by the United States trustee or bankruptcy administrator. The clerk of the bankrup.c-,
court has a list that you may consult of tle approved budget and credit counseling agencies. l.ach debtor ;11 a .iui:T.
case must complete the briefing.

        In addition, after filing a bankruptcy case, an individual deutor gcneraj,y III ust conlJHcl~ a llilaHl'l;;lJt
management instructional course bcfore he or she can receive a discharge. 'rile clerk ..lIs\-) has a lis: Urappn)\cd
financial management instructional cour-es. l.ach debtor in a joint case must complete the course.

2. The Four Chapters or tile IJankrup1ll C~ode Available to In(tividual Consurner I)cbtol~~

         Chapter 7: Liquidation ($245 filing fee, $75 administrative fee, $15 trustee surcha rgc: Totat fcc S33S)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their e\.istil1g
debts. Debtors whose debts arc primarily consumer debts are subject to a "means test" dcxigncd to determine
whether the case should be permitted to proceed under chapter 7. J f your income is greater than the median inc.ur.c
for your state of residence and fam i Iy s iz e. in S0l11e cases, the lJ n itcd States trustee (or bankruptcy adrn i n i strator ). the
trustee, or creditors have the right to file 1 motion requesting that the court dismiss your case under" ~ 707(b) of the
Cod e. It is up to thc co urt to dec ide w he1her the ca se sh0 uId be dis 111 issed.
         Under chapter 7~ you may claim certain of your property as exernpt under govern ing la vv A trustee mav have
the right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pa;
your creditors.
         The purpose offiling a chapter 7 case is to obtain a discharge of your existing debts. IL however. )OU arc
found to have committed certa in kinds of' improper conduct described in the Bankruptcy Code. the court 111(1: den:
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          Fonn B 20 I A~ Notice to Consumer Debtorts)                                                           Page .2

your discharge and, if it does, the purpose for which you filed the bankruptcy petition will he defeated.
        Even if you receive a general disc iargc, some particular debts are not discharged under the law. Therefore.
you may still be responsible for most taxes and student loans: debts incurred to pay' nondischargeable taxes: domestic
support and property settlement obligations: most fines. penalties. forfeitures. and criminal restitution obliuation-:
certain debts which are not properly I istec in your bankruptcy papers: and debts 11]r death or personal injurv caused
by operating a motor vehicle. vessel, or aircraft while intoxicated Irorn alcohol or drugs. /\ lso. If a creditor can
prove that a debt arose from fraud. breach offi.duciary duty. or theft. or from a willful and man...:\(HI~ !nJLJr~. the
bankruptcy court may determine that the debt is not discharged.

        Chapter 13: Repayment of All or Part ofthc Debts of an Individual with Regular Income (S235                       tilin~
fee, $75 administrative fcc: Total fcc $.310)
        Chapter 13 is designed for individuals with regular income who would like to pay all or part or
their debts in installments over a period of time, You are only eligible for chapter] 3 if your debts do not exceed
certain dollar amounts set forth in the Bankruptcy Code.
        Under chapter 13~ you 111 ust fi lc \\ ith the court a pIan to repay your crcd itors a II or part 0 f the money that yuu
owe them, using your future earnings. 'rile period allowed by the court t{) repay your dcbt-, m.r. bl' three Y~l.!r') or
five years, depend ing upon your income and other factors. 'The court 1l111St approve your plan before it can take
effect.
        After completing the payments under your plan, your debts are generally discharged except. for domestic
support obligations; most student loans; certain taxes; most criminal fines and restitution obi igations: certain dcht«
which are not properly listed in your bankruptcy papers: certain debts for acts that caused death or personal injurv:
and certain long term secured obligations.

        Chapter 11: Reorganization ($l ,167 filing fee, $550 administrative fee: 'T'otal fcc S 1'\ 717)
        Chapter 11 is designed for the rec rganization of a business but is also ava ilable to COnSUI11er debtors. Its
provisions are quite complicated, and any decision by an individual to file a chapter 11 petition should be review..~d
with an attorney.

        Chapter 12: Family Farmer or Fisherman ($200 filing fee, $75 administrative fcc: Total fcc 5275)
        Chapter 12 is designed to permit tarnily fanners and fishermen to repay their debts over a period of time trom
future earnings and is simi lar to chapter 13. The el igibi Iity req uirerncnts are restricti vc. Ii111 iting its usc to those
whose income arises pr irnarily from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and j\vaiiabilitr...Qf Bankruptcy Papers jo Lalv Enforcement Officials

        A person who knowingly and fraudulently conceals assets or makes a false oath or statement under pcnalt. (11'
perjury, either orally or in writing. in connection with a bankruptcy case is subject to a fine, impr isonm.nt. or hoth
All information supplied by a debtor in connection with a bankruptcy case is subject to examination by the /\tto~'nc:
General acting through the Office of the United States Trustee. the Office of the United States Attorney. and otlcr
components and employees of the Dcpar.ment of Justice.

WARNING: Section 521(a)( 1) of the Bankruptcy Code requires that you promptly file detailed information regarding. your
creditors, assets, liabilities, income. expenses and general financial condition. Your bankruptcy case Ina)' be disnusscd if
this inforrnation is not f led with the court within the time deadl ines set by the Bankruptcy Code, t he Bankruptcy Rulex. ..nd
the local rules of the court. The documents and the deadlines for filing them are listed on lorm 13200. which is posted al
http://www.uscourts.gov/bkforIns/bankrupt2vforIns.htI111 # proeed Llre.
               Case 15-20630                  Doc 1   Filed 06/15/15 Entered 06/15/15 02:23:45                                     Desc Main
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 B 20] B (Form .201 B) (12/09)




In re                                                                                    Case No.
                                     Debtor
                                                                                         Chapter               _



                                 CERTIFICATIOI~       ()F NOTICE TO C()NSUMER DEll~r()I{(S)
                                          lJNDf~R § 342(b) OF THE BANK.I{UprrCy (=O])r1~



                                         Certification of [Non-Attorney] Bankruptcy Petition Preparer
         L the [non-attorney] bankruptcy petition prcparer signing the debtor's petition, hereby certif, that I delivered to the debtor tl t~
attached notice, as required by ~ 342( b) of the Ba ikruptcy Code.



Printed name and title, if any, of Bankruptcy Petition Preparer                          Social Security number ( I f the bankruptcy petition
Address:                                                                                 preparcr is not all individual. state the Social Sccurity
                                                                                         number of the officer. principal. responsible person. UI
                                                                                         part ner 0 f th c ba n k rup t cy pet ition pre pare r.) (R cq 1Ii I"..~ d
x                                                                                        by II L;.S.C. ~ 1101

Signature of Bankruptcy Petition Prcparer or officer,
principal, responsible person, or partner whose Social
Security number is provided above.




                                                         Certification of the Debtor
           I (We), the debtort s). affirm that I (we ) lave received and read the attached notice, as required by          ~ 342(b)     of tile Bankruptc ,
C
 l1deo,..                        1                                                   f                I
~i~09;(~; OfDe~J SO)r                                                       ~r7;~i~::=~-                                                   Date

Case No. (if known)
                                                                            Signature of Joint Debtor (if any)                            Date




Instructions: Attach a copy of Form B 201 P., Notice to Consumer Dcbtort s) Under                         ~   342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by II LJ.S.(~. ~ 342(b) only if the certification 11(1:';
NOT been made on the Voluntary Petition, Official FOrIn B I. Exhibit B on page 2 of Form B I contains a ccrti Iication h) the
debtor's attorney that the attorney has given .he notice to the debtor. The Declarations made by debtors and bankruptc,
petition preparers on page 3 of Form B1 also include this certification.
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                                     N orthcrn         District of       111 inois

        In re           Akilah l luisar                                                Case No.
                          Debtor                                                                   (if known)




    11:XIJIllrr I) -   INI)IVII)lIAI~ 1)11~ll'r()J{'S STA'rF~lVII~~~l'             or   (=()~~11)1.,LJ\N(=1~ wrru
                             C I~I~~ () rr   c:o t: ~S E 14 INC;   I~ EQ   l:; RI~~'tlI1~r,r-r

         Warning: You must be able to chcck truthfully one of the five statements regarding
credit counseling listed below. If you cannot do so, you arc not eligible to file a bankruptcy
case, and the COLI rt can dismi ss any case you do file. I f that happens, you will lose whatever
tiling fee you paid, and your creditors will be able to resume collection activities against
you. If your case is dismissed and you file another bankruptcy case later., you may be
required to pay a second filing fee and you may have to take extra steps to stop creditors"
collection activities.

        Everv individual debtor mustfile this Exhibit              I).   ltajoint petition isfiled. each spouse
must complct« andfile (I se porcu» Exhibit IJ Check one ofthefive statements below                      (HU/    a/loch
O}]\' documents as directc.L



       vI I.    Within the I gO days before the tiling of my bankruptcy case" I received a briefing
1'rOn1 a credit counsciing agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis. and I have a certificate from the agency describing the
services provided to 111C. Auacn a CO/)) , ofthe certificate and a CO!))' ofanv deht repayment plan
developed through the ((~ellC.l',

        ['1 2. Within the 180 days before the tiling of my bankruptcy case" I received a briefing
from a crcd it counsel ing agency approved    by rhc United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis. but I do not have a certificate from the agency describing
the services provided to 1l1C. Yi.u niustfi!e a CO!J.V ofa certificatefrom the agent}' describing the
services provided to vou and ct CO!)): ofany debt rcpavment plan developed through the ogene,
no later than 1-1 (/lZVS after vout bankruptcy case isfiled.
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        o 3. I certify that
                          I requested credit counseling services Iron: an approved agenc) but
was unable to obtain the services during the seven days from the time I made rny request and the
following exigent circumstances merit a temporary waiver of the credit counseling requirement
so I can file my bankruptcy case 110\V. r~111117/77ari~e exigent circumstances here. /




       If your certification is satisfactory to the court, you In list still obtain the credit
counseling briefing within the first 30 days after you file your bankruptcy petition and
promptly file a certificate from the agency that provided the counseling, together with a
copy of any debt management plan developed through the agency. Failure to fulfill these
requirements may result in dismissal of your case. Any extension of the 30-day deadline
can be granted only for cause and is limited to a maximum of 15 days. Your case may also
be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.

        o 4. I am not required to receive a cred it counsel ing briefing because of:       I( 'heck the
applicable statement.] / A1U,\;1 he accompanied bJ' a /710Iio17.I()Jo determination 17.\' the court. /

                Cllncapacity. (Defined in 11 lJ.S.C'. ~ 109(h)(4) as impaired by reason o lmcntul
        illness or mental deficiency so as to be incapable of realizing and mak iru; rational
        decisions with respect to financial rcsponsibil itics.):
                Cl Disability. (Defined in II l).S.C'. ~ I 09(h)(4) as physically impaired to the
        extent of being unable, after reasonable effort. to participate in a credit counseling
        briefing in person" by telephone, or through the lntcrnct.):
                o Active militarv duty in a military combat zone.
       n 5. The United States trustee or bankruptcy administrator has determined that the credit
counseling requirement of II lJ.S.(~. § 109(11) docs not apply in this district.


        I certify under penalty of perjury that the information provided above is true and
correct.
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                                                         Certificate Number:         17572-1L,N-C:(~-0257()~~6l)


                                                        1111111111111111111111111111111111111111111111111111111111111111111



                         CERT][FICATE                   OJ1-' COUNSELING:.

I CERTIFY that on JJ.}_ne I~-,-201~, at .7:12. o'clock PM~rrr~ .'~15jl~b.~J)__li.~is.~X
received from DQIIC!rJ~_~llIni~!g FOldnda!.LQ!Jl__ Jll~.,. an agency approved pursuant to
11 lJ.S.C. ~ III to provide credit counseling in the Northern District ofJ)Ji!)(?j__~~
an individual [or group] briefing that complied with the provisions of 11 U.S.C.
§§ I09(h) and Ill.

A debt repayment: plan _wa~; not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.

This counseling        SCSSiC)Il   was conducted Qy__Ult~J~LlG1.




Date:   June   12~   2015 . __.    ~              .__    By:        is/Selin Polat


                                                         Name: Selin Polat


                                                         l-'itle:   Counselor




* Individuals who wish to file .i bankruptcy case under title
                                                            11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any. developed through the
credit counseling agency. See 1 tJ"S.C. §§ I09(h) and 521(b).
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B6\ (()ffirial Forrn 6-\) ( 12/(7)


Inn.'                                                                                                                                    ("ase '\ u.
                                                                                                                                                                t l f k n ow n)



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      lx ccp: ~IS directed below. ii"t ali real propcrt) in .vluch the debtor has allY kgal.. equitable. or future interest. inclu.Iinj. (tll propcrtv d\\ilCd;1-.", C<i­
tcn.mt. community property. or ill which the debtor IlllS a life estate. Include any property In which the debtor holds nghb and powers t.'\t.';'Ci:-,dhk !(~:.
the .lcbtor« 0\\ 11 benefit. IIthe debtor :1" married. stale whether the husband. wile. both. or the niaritnl community 0\\ 11 the propcrtv f"y pl(li_'iI1t~ ; j i l " i.'
..\\ ." ".I,,' or "C" in Lilt.' C01Ulll11 Iabc led "l lusb.md. VI'i Ic..loint. or COI1l III 1111 it: .' Ir till: debtor holds 110 imerest III rca] propcrtv. \\ I'l u. .." OI1t.~ II :!( L'~
--I kSlTiptio;) ,If)L! I ocution o lPropcrt, .'

      Do not include iute rcsts in cvccuturv cunt ract- and une xpired leases on [his schedule. list them in Schedule C - I·,,\.cfutor\ (oillral'l, a url
   nc vp i rcd Leaves.

    I fan cut ity cluim-: 10 have ~l lien or hold ~l <ccurcd mtcrcxt in any property. state the amount o lthc secured claim. Se.: Schedule D. l luo cl1tit) .l.nr»,
to hold (} -ccurcd interest in the properly. writc "None" in the column labeled "Amount             Secured Claim."        or
      Il   l!'lt.'    .lchtor i" an in.]i\ idll~t1 or i r;1 joiut pel! t iOll i:-; Ii led. stare the amount   0   I' an: exempt i 011 claimed in the propcrt, onl) in SchcJlJ lc C - 1>r()p~'1 t:,
\. Ij::l1..:d        (I:,I, \",.'l11pt.




                            DESCHiPTIO:\ ,\:\1)                                                                                     Cl :RI{[i\T V.\.I.I'[                 ,\\IOl :\'1' OF
                              1.0C,\TI0:\ OF                              'l.·\Tl'IH·: OF DEBTOI{'S                                   OF DEBTOR'S                           SE( 'l'I{LI)
                                PROPERr,'                                I' TEREST f~ PROPEI{TY                                        f :\TEI{EST f:\                        ('f.,\ 1,\1
                                                                                                                                 PH.OPEI{TY. \\'1'1'1101
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 None




                                                                                                              (Report abo 011 Summarv of Schcdulcs.)
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in re                                                                                                               Casc :\(Ji.
                          Debtor                                                                                                           (If know n)




               t.xccpt a~ directed bciow.Iis: all personal r,ropcrt: ofthe debtor ofwhatever kinti. i i the Ocntllr has flU nrUrl~n~ III .nc or mo«: l)~ :h,,' ~.IL'., \
Di{.iC~   an -'~,(' m the appr opnatc position III ihc column labeled "None.' If additional ~;P(\cC I:"; needed in dll} \~alcg()r:. .ur.nh d~Cr\d!'dIL '"lll~~\ ;li'\'l'L'   ..

idenuficd with the case name. case number. and the number otthc category. Itthc debtor is married. state whether the husband. \\i I,.', hot h, or the iiLi:'!Llt
community own the property by placing an ""II:' "vv'." ".1:' or ""C" in the COlUI111l labeled "Husband. Wile. Joint. or Community .' lithe debtor 1> .in
individual or a joint petition is filed. state the amount of any exemptions claimed only in Schedule C' - Property Claimed as l.xcmpt

              Do not list interests in executory conrrar ts and unexpired leases on this schedule. List them in Schedule C - Executory Contruct-. and
U nexpircd Leases.

If the property is being held for the debtor by somccnc else. state that person's name and address under "Description and I oc.uion or l'ropcrt , ,"
Ifthe property is bcing held for a minor child . xirnpl v state the child's initials and the name lind address ofthe child's parent or ~llardi;IIL -ucl: a'
f1A.B .. a minor child, by John Doc, guardian." Do IH,t disclose the child's name. Sec, II II.S.C. ~ 112 and lcd. R. Hankr. P. I007(rn),
r--------------------'T----r-----------------.--------------r---.                                                                                                      ----,
                                                                                                                              t--­
                                                                                                                              :.~         Cl 'I{RE:\T \.\1 .t E 01­
                                                                                                                              g~          DEBTOR'S (:\TERES"
                                                                                                                              tt!~        1\ PROPERTY, \\1'1'11­
                                                                         DESCI~IPTIO:\ AND
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             TYPE OF     PI~OPEH.T'                                                              LO( .\TIO\                   6~
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                                                                                                                              §~ ~           OR r.,r'IPTIO\


  I    Cash or hand

  2. Checking, savmgs or other finan­
  cial accounts. certificates of deposit                      lJSAA Checking
  or shares in banks. savings and loan,
  thrift building and loan, and home­                                                                                                                           BOO.DO
  stead associations, or credit unions.
  brokerage houses. or cooperatives

  3 Security deposits with public ulJl­
  itics, telephone companies, land­
  lords, and others

  4. Household goods and furnishings.
  including audio, video, and computer                        Household Goods
                                                                                                                                                                400.00
  equipment

  5 Books: pictures and other art
  objects: antiques, stamp, coin,
  record, tape. compact disc, and other
  collections or collectibles

  6.   Wearing apparel                                        VJearing Apparel                                                                                  ~GC).C)C


  7, Furs and jewelry.

  8. Firearms and sports, photo­
  graph IC, and other hobby eq u ipmcnt

  9. Interests Il1 insurance pol ic res

  Name insurance company of each
  policy and itemize surrender or
  refund value of each

  10. Annuities. itemize and name
  each issuer.

  II Interests in all education IRA as
  defined in 26 USC ~ 530(b)( 1) or under
  a qualified State tuition plan as defined In
  26 U,S.C. ~ 529(b)( 1) Give particulars
  (File separately the rccordis) of allY such
  interest(s). II US.C. ~ 521(c))
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l3 6B (Official Form (13) (12/07) -- Cont




In re                                       _
                       Debtor                                                                                (If knuwn l


                                                SCHEDULEB-PERSONALPROPERTY
                                                              (Continuation Sheet)

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           TYPE OF PROPERTY                                   J)ESCIHPTIO~ Al\D LOCATIO\      3~             O( T DEDI (""11,\(;\\ ':    I
                                                                     OF PI~OPEI~T'            ~.~
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 12. Interests in IRA, ERISA, Keogh, or
 other pension or profit sharing plans
 Give particulars.

 13. Stock and interests in incorporated
 and unincorporated businesses.
 Itemize

 14. Interests in partnerships or jo int
 ventures. Itemize.

 ; 5. Government and corporate bonds
 and other negotiable and non­
 negotiable instruments.

 16. Accounts receivable.

 17 Alimony, maintenance. support.
 and property settlements to which the
 debtor is or may be entitled (Jive
 particulars

 18. Other liquidated debts owed to
 debtor including tax refunds Give
 partie ulars.

 19. Equitable or future interests, Iire
 estates, and rights or powers exercisable
 for the benefit of the debtor other than
 those Iistcd in Schedule A - Real
 Property.

 20 Contingent and noncontingent
 interests in estate of a decedent. death


 21. Other contingent and unliquidatcd
 claims of every nature, including tax
 refunds, counterclaims or the debtor. and
 rights to setoff claims Give estimated
 value of each.
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13 613 (Official Form (8) ( 12/(7) -- Cont


In   I"C                                                                                           (·a,c\o.
                       Debtor


                                             SCHEDlJLE B -       PERS()N~L\.L            PROPEI{T\l

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                                                                                                                  DEBTOH'S I'\TEHEST
                                                 :\                                                               I" PROPI·:RI". \\1'1'11­        I
           r'PE OF    Pl~OPERT'                  o           DESCIHPTIO,,\ ,\~J) I OC,\TIO'\                      0('1' DFIH CTI\(~ .\'\'
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                                                                                                                                             -----1
 22 Patents, copyrights. and other                                                                                                                I
 intellectual property GIve particulars

 23. Licenses, franchises, and other general
 intangibles. Give particulars


 24 Customer lists or other cornpilauons
 contauung pcrsonallv idcnufiablc
 informauou (as dcfuicd 111 II U .SC
  ~ 101(4IA)) provided to the debtor b~
 individuals in connection with obtaining a
 product or service from the debtor
 primarily for personal, family, or
 household purposes.

  25 Automobiles, trucks, trailers,                    2008 Jeep Commander
 and other vehicles and accessories                                                                                                 8.225.00

 26 Boats, motors, and accessories

 27 A ircratt and accessories

 28, Office equipment, furnishings,
 and suppl ics.


 29. Machinery, fixtures, equipment
 and supplies used in business


 30. Inventory


 31. Animals.


 32. Crops - growrng or harvested
 Give particulars.


 33, Farming equipment and implements.



 34. Farm supplies, chemicals, and feed

 35. Other personal property of an~ kind
 not already listed I ternI/.e


                                                                                                              s                     9,8~~5.C()

                                                                   (lncl ude amounts from anv continuation
                                                                   sheets attached Report total also on
                                                                               Summary of Schcdulcs.)
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H6C (Official Form 6C) (041i 3)


In re                                                                                                   Case No.
                             Debtor                                                                                          tl tknown)



                           SCHEDULE                    c: - IlROPERTY CI~AIMED AS EXEMf>T
 Debtor claims the exemptions to which debtor          i~,   entitled under:          [] Check if debtor claims a homestead exemption that      c\c,-'Ld'­
 ICheck one no>..)                                                                        $IS5.675.'"
 [] I: L.~.C·. ~ 522(h)(2:
 ri  II i .. S.C. ~ 522(h)(])




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                                                      SPI'~CIFYLA \V                                  VALliE OF                      V ·\LIF OF PROPERT'
     DESCRIPTIOl\ OF PROPERTY                       PRO'/IDI:\G EACII                                 CLAI \IED                     \\'ITIiOl T DI-:I)('TI\(,
                                                       E~~E!\lPTIO:\                                 EXEMPTIO\                             EX E\tPI'I()\

                                                                                                 -                       - -r - - . - - - ­
     Checking Account                         735 ILCS 5/12 1001 (b)                                               800.00                                    BOO.OJ


     Household Goods                          7351LCS 5/12 1001(b)                                                                                       4,BOO.OO
                                                                                                                   400.00


     Wearing Apparel                          735 ILCS 5/12 1001(a)                                                400.00


     2008 Jeep Commander                      735 ILCS 5/12 1001 (c)                                              2,400.00                               8,225 00




* Amount subject to adjustment    Oil -J;[)   /"/6, and ew    Iy   three years thereafter with respect to cases commenced Oil or aftvr till' dUle otculiustmc u,
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B 60 (Official Form 6D) (12/07)

                      In re                                                                     Case No.
                                                  Debtor                                                                     ( If kn 0 \"'11 )

                              SCHEI)ULE I) -               CI{F~I)ITOI~SH()LDIN(; Sf~CUI~EI) CL~t\IlVIS

            State the name, mailing address. including ~ip code. and last four digits of any account number of all entities holding claims secured b~
property of the debtor as of the date or filing of the petition. The complete account number o l' any account the debtor has with the creditor is usc lui
to the trustee and the creditor and may be provided if the debtor chooses to do so. I .ist creditors holding all types of secured intcrcst-, such ~h
judgment liens. garnishments. statutory liens. mortgaics, deeds of trust. and other security interests.
            List creditors in alphabetical order to the extent practicable. If a minor child is the creditor. state the child's Initial" and the name and
address of the child's parent or guardian. such as rlA.B .. a minor child. by John Doc. guardian" Do not disclose the child's name. Sec. 11 t ,S,C', ~: II:~
and Fed. R. Bankr. P. 1007(ln). lfall secured crcditos will not fit on this page. use the continuation sheet prov rdcu.
           Ifany entity other than a spouse in a joint case may be jointly liable on a claim. place an .. X" in the column labeled "Codebtor." include th.:
entity on the appropriate schedule of creditors. and complete Schedule 11- Codcbtors. l lu joint petition is filed. state whether the husband. \\it(,.
both ofthem. or the marital community l11ay he liable on each claim by placing an "11." .. \v ..· ".I,,' or '"('" in the column labeled "Husband. \\'i!c.
Joint or Community.'
           If the claim is contingent. place an .. x.. in tile column labeled "Contingent." I Ithe claim is unliquidated. place all .. x.. in the COILlIl1I~
labeled "Unliquidated.' If the claim is disputed. place an .. x.. in the column labeled "Disputed.' (You may need to place an "X" in more than ('111': o f
these three columns.)
           Total the COlUl1111S labeled "/\1110Ul1t ofClaim Without Deducting Value or Collateral" and "Unsecured Portion. ilAny in the boxc.:
labeled "Totalis)" on the last sheet of the completed -chcdulc. Report the total from the COIUll1n labeled "Amount otClaim Without Deducting \'dJC
of Collateral" also on the SUI111nary of Schedules and if the debtor is an individual with primari ly consumer debts. report the total from the co lum 1
labeled "Unsecured Portion. ifAny on the Statistica Summary olCcrtain Liabilities and Related Data.


          D          Check this box if debtor has no creditors holding secured claims to report on this Schedule D,

                                        --~-'-                  ---------            r-----~




 CREDIT()R'S NAJ\'lE A:'1D                    ~             DA TE CtAI"1 \VAS                              Ai\I()l':\T ()F CLAI \1            1'\SE('I'REI)
    ~lAILING ADDRESS
INCLliDING ZIP C()DE A]\D
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  AN ACCOlfNT Nlfl\lBER
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ACCOlJ~T ~O.
                                                            200 8 Jeep
Chase                                                       Com mander
POBox 901076                                                                                                          13,085.00
Fort Worth, TX 76101-2076
                                                           VAl ,UE $      8 225.00
ACCOlJ~T NO.




                                                           VAl JLJL $                             ---+----_._------­                   ------_._---­
ACCOlJ~T    NO.




                                                           VAl JJF  s
     continuation sheets                                   Subtotal ~                                  $                                $
     attached                                              (Total of this page)                                       13,085.00
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           Case 15-20630                  Doc 1        Filed 06/15/15 Entered 06/15/15 02:23:45                                               Desc Main
                                                        Document     Page 16 of 48
B6F (Official Form 6L) (04/1.3)



           In re                                      _                                                        Case 1\10.                                 _
                                  Debtor                                                                                                   tifknown,


          SCHEDULE E -                    CREI)Il~ORS             HOLDING UNSECURED                                        P'RIO.RI1~Y CLAIMS


    A complete list ofclaims entitled to priority. listed separately by type of priority. is to be set forth on the sheets provided. Onl: holders or
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets. state the name. mai ling adc rc.e..
including zip code. and last lour digits of the account number, if any. of all entities holding priority claims against the debtor or the property nf tnc
debtor. as of the date of the f I ing of the petition. LJ sc a separate continuation sheet for each type of priority and label each with the type or prioriy.

    The complete account number of any account 1he debtor has with the creditor is useful to the trustee and the creditor and may be provided' f the
debtor chooses to do so. II' a minor child is a credi .or, state the child's initials and the name and address of the child's parent or guardian. such a~~
"A.B .. a minor child. by John Doc. guardian." Do 1I0t disclose the child's name. Sec. II lJ.S.t'. ~ 112 and lcd. R. Bankr. P. I007(m),

     l lany entity other than a spouse in a joint case Illay be jointly liable on a claim. place an "X" in the column labeled "Codebtor." include till
entity on the appropriate schedule of creditors. and complete Schedule l l-Codcbtors If a joint petition is filed. state whether the husband. \\ 1lc.
both ofthem, or the marital community may be liailc on each claim by placing an "I L" "\V." ".I." or "C" in the column labeled "I Iusband. Wile.
Joint or Community."          If the claim is contingent. place an "X" in the column labeled "Contingent." If the claim is unliquidated. place an "X" in
the column labeled "Unliquidated." If the claim is disputed. place an "X" in the column labeled "Disputed." (You may need to place an "X" in more
than one of these three columns.)

    Report the total of claims Iisted on each sheet in the box labeled "Subtotals" on each sheet. Report. the total of all claims Iisted on this Schedule
L in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the SUn1I11ary of Schedules.

     Report the total of amounts entitled to priority Iistcd on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amoi.nt :
entitled to priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors witl:
primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

    Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
amounts not entitled to priority listed on this Schec ule E in the box labeled "Totals' on the last sheet of the completed schedule. Individual debtors
with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

[l]   Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule L.

TYPES ()F PRIORITY CLAlrvlS (Check the aprropnatc boxfes ) below              ifclaims in tha: catcgorv arc listed   011   till? attached shccts.)

D     Domestic Support ()hligations

     Claims for domestic support that are owed to O' recoverable by a spouse, former spouse. or child of the debtor. or the parent. legal guardian.           IJr

responsible relative of such a child. or a govcrnmct ual unit to \Vh0I11 such a domestic support claim has been assigned to the extent provided in
I I u.s.c. ~ 507(a)( I ).

D Extensions of credit in an involuntary case
  Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of .hc
appointment of a trustee or the order for relief. 11 lJ .S.C. ~ 507(a)(3).

D     \Vages, salaries, and commissions

  Wages, salaries. and commissions, including vacation. severance. and sick leave pay owing to employees and commissions owing to qualify ing
independent sales representatives up to $12.475* per person earned within 180 days immediately preceding the filing of the original petition. or the
cessation of business. whichever occurred first to t ic extent provided in I I lLS.C. ~ 507(a)(4).
D     Contributions to employee benefit plans

  Money owed to employee benefit plans for services rendered within 180 days immediately preceding the liling of the original petition. or the
cessation of business. whichever occurred first. to t.ic extent provided in 11 lJ .S.C. ~ 507(a)(5).


 * Amount subject to odjustnicnt    011   .J () J J 6. and cve,:" three years thereafter with respect to cases commenced on or after the dale ofadjustment.
                Case 15-20630                    Doc 1             Filed 06/15/15 Entered 06/15/15 02:23:45                                                   Desc Main
                                                                    Document     Page 17 of 48
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In re                                                                                                                 Case No.
                                        Debtor                                                                                                                (if known)


             SCHEDULE F -                  CREDI1-'OI~S                          1-fOLDING UNSI,:CURED NOl'JPRIORIT'Y                                                   CLAIM~,

    State the name, mailing address. including zip code. i. nd last lour digits of anv account number. o tul i entities ho ldmg unsecured claun- wrthout priptll) d.c;ain~l
the debtor or the property  orthe debtor. as of the date o 'Ii Iing orthe petition. The complete account I1UI1l her orany accoun: the debtor has \\ ith the 1::'cJilor is
useful to the trustee and the creditor and Ina) be provide U if the debtor chooses to do so. Ira minor child is a creditor. state the child's initials and till' n.uuc and
address of the child's parent or guardian. such as n!\.B .. a minor child. by John Doc. guardian." 1)0 not disclose the child's name. Sec. II 1 .S.C. !~ II .' a ld lcd.      1




R. Bankr. P. I007(nl). Do not include claims listed in ~~chcdules [) and L. If all creditor- will not lit on this page. usc the continuation sheet provided.

    L' .my entity other than a spouse in a joint case ma: be jointly liable on a claim. place an .. x.. in the COlUll111 labeled "Codebtor.' include the en it) on the
appropriate schedule ofcreditors. and complete Schcdu c II - Codebtor». I la join: petition is filed. state whether the husband. vvi lc. both o lthcm. or the marital
community may he liable on each claim by placi ng an '11." ..\V,,· ".1'" or "C" in the col LImn labeled "II usband. \~' i lc. .loi nt. or ( 'Orll11UI1 it: .'

     If the claun is contingent. place un rX" ill the colum i labclcd "Com ingcnt." If the claim is unliquidated. place an "X" in the columu labc lcd "ll1li'.ILlidated.··
If the  Cla1l111~ disputed. place an "X" in the column labclc.l "Disputed." (You may need to place an "X" in more than one otthcsc three column-. i


     Report the total    or
                        ali claims listed on this schedule in the box labeled "Total" Oil the last sheet of the completed schcculc. R~purt thi- total ~J1~.{1 on the
SUIl1111ary ofSchedules and. ifthe debtor is an indiv idu rl \\ ith primarily consumer debts. report this total also on the StatistiCllj Summary o ltcrtuin l.r.rbiliuc-:
and Related Data ..

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 ACCOUNT NO
                                                                                  Rental

  Aaron's Sales & Lease                                                                                                                                              1,093.00
  P.O. Box 3023
  Hutchinson, KS 67504-3023

 ACCOUNT NO
                                                                                  Medical

  Advocate South Suburban                                                                                                                                              874.00
  17?OO Kedzie Ave.
  Hazel Crest, IL 60429
                                                                                                           -
 ACCOUNT NO.
                                                                                  Misc.

  Credit One Bank, N.A.                                                                                                                                              1,264.00
  55 Beattie Place Ste 110
  Greenville,SC 29601
                                                                                                          -
 ACCOUNT NO
                                                                                  Toll Highway

  Illinois State Toll Hwy Auth.                                                                                                                                      1,536.00
  P.O. Box 15618
  Wilmington ,DE 19850

                                                                                                                                       SLlbtotal:~       ~.
                                                                                                                                                                     4,767.00

         continuation sheets attached
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              Case 15-20630                         Doc 1             Filed 06/15/15 Entered 06/15/15 02:23:45                                                                Desc Main
                                                                       Document     Page 18 of 48


In re            .                              _                                                                              Case No.
                                  Debtor                                                                                                                            (if known)


         SCHEDULE F - CREDIT()RSHOLllING                                                              UNSECUI~ED NONPRI()RIT'( CI-J~t\Il\1S
                                                                                        (Continuauon Sheet)



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        CREDITOR'S NAME.                                                                DATE CLAIl\t w.vs                          ~      0                          I        /\xro
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I   ACCOliNT NO
                                                                                Medical
~ MetroSouth Medical Center                                                                                                                                                           225.00
    12935 S. Gregory
    BIL3 Island,lL 60406-2428
                                                                                                                  -
    ACCOUNT NO
                                                                                Misc.

    Montgomery Ward                                                                                                                                                                   179.00
    3650 Milwaukee St.
    Madison, WI 53714-2399
                                                                                                                  -
 !\CCOlINT NO                                                                   Medical

    Oaklawn Radiology Imaging                                                                                                                                                         146.00 I
    37241 Eagle Way
    Chicago,IL 60678-1372

 ACCOUNT NO.
                                                                                Notice Oaklawn

    TrustMark Recovery Services
    541 Otis Bone Dr.
    Munster,IN 46321
                                                                                                              -
 ACCOllNl NO                                                                    Medical

    University of Illinois at Chicag                                                                                                                                                  275.00
    3293 Payshere Circle
    Chicago,IL 60674
                                                                                                             -
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                                LOlHlIl uauon   ~ llcct~ alt~icl1CC                                                                            :~lIhlOtal~               s
 to Schedule of Creditors Holding Unsecured                                                                                                                                           825.00
 Nonpriority Claims
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                                                                                             Summar: olCcrtain l.r.rbihucs and Related D~It~I)
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               Case 15-20630                Doc 1                  Filed 06/15/15 Entered 06/15/15 02:23:45                                     Desc Main
B 6F (Official Form 6F) (12/07)
                                                                    Document     Page 19 of 48

In re   ----------=---::-~-------
                                                                                                             Case No.
                                   Debtor                                                                                                      (if known)


         SCHEDULE F -                 CREDITOR~S                         HOLDING UNSE,CURED                                NON-PRIC)RIT~( C]~AIMSt

    State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against
the debtor or the property of the debtor, as of the date of filing of the petition. The comple:te account number of any account the debtor has with the c reditor is
useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed.
R. Bankr. P. I007(m). Do not include claims listed in Schedules D and E. Ifall creditors will not fit on this page, use the continuation sheet provided.

   If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "'X" in the column labeled "Codebtor." include the enti ty on the
appropriate schedule of creditors, and complete Schedule H ..Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the riarital
community may be liable on each claim by placing an "-I," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

     If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an '"X" in the column labeled "Unliquidated."
If the claim is disputed, place an "X" in the column labeled ';'Disputed." (You may need to place an "X" in more than one of these three columns.)

    Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the
Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities
and Related Data..

    D Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F
                                                    cr.:j'
      CREDITOR'S NAME,                              ~              >-­       DA TE CLAIM WA,S                                0                 AM01JNT ()F
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      MAILING ADDRESS                                ,,0                      INCURRED AN[~                        z~                            CLAIM
     INCLUDING ZIP CODE,
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 ACCOUNT NO.                                                              May have interest in
                                                                          Aaron's Sale & Lease
  National Credit Adjusters
  Dept. 835                                                               claim
  P.O. Box 411.5
  Concord, CA 94524
I--------------+---+-----~---------.--_+--_r--_+--_t_------.-

 ACCOUNT NO.                                                              Medical

  University of Illinois                                                                                                                              117'.00
  P.O. Box 1299
  Chicago,IL 60612-0199
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 ACCOUNT NO.                                                              Misc.
  US Bank                                                                                                                                           5,463~.00
  Management Servo Inc.
  P.O. Box 1099
  Langhorne, PA 19047

 ACCOUNT NO.                                                              Credit Card

  Capital One                                                                                                                                       1,071.00
  P.O. Box 85520
  Richmond,VA 23285
                                                                                                                              Subtotals­   $        6,651.00
                                                                                                                                                            .­
 _ _continuation sheets attached                                                                                                  Total~   $
                                                                                 (Use only on last page of the completed Schedule F.)
                                                             (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                   Summary of Certain Liabilities and Related Data.)       ---_.__. ­
               Case 15-20630              Doc 1          Filed 06/15/15 Entered 06/15/15 02:23:45                                           Desc Main
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                                                          Document     Page 20 of 48


In re - - - - - - - - - - - - - - - -                                                                  Case No.
                   Debtor                                                                                                             (if known)

         SCHEDULE F - CREDITOllS HOLDING UNS:E:CURED NOl'fPRIORIT'Y                                                                                CLAIM~,
                                                                         (Continuation Sheet)


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      CREDITOR'S NAME,                         ~              >-­       DATE CLAIM WA.S                                                     AMOUNT OF
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 ACCOUNT NO.
                                                                    Credit Card
  USAA Savings Bank                                                                                                                                  s.oo
  P.O. Box 47504
  San Antonio, TX 78265
                                                                                                                                                     --
 ACCOUNT NO.                                                        Loan

  Pioneer MCB                                                                                                                                  1,850.00
  3240 E. Tropicana
  Las Vegas, NV 89121
                                                                                                                                                     .­
 ACCOUNT NO.                                                        Ordinance
 City of Country Club Hills                                                                                                                        200.00
 4200 W. 183rd St.
 Country Club Hills, IL 60478
                                                                                                                                                     --
 ACCOUNT NO.                                                        Cellphone
 T-f\/.0bile
 Midland Funding
                                                                                                                                               1,16?00
 8875 Aero Dr. Ste. 200
 San Diego, CA 92123
                                                                                                                                                     .­
 ACCOUNT NO.                                                        Medical
 U of I
 Obstetrics Gynecology
                                                                                                                                                   15E3.00
 8231 185th St. Ste 100
 Tinley Park,IL 60487
                                                                                                                                                     --
 Sheet no._ _ of_ _ continuation sheets attached                                                                       Subtotals-       $
 to Schedule of Creditors Holding Unsecured                                                                                                    3,38'1.00
 Nonpriority Claims

                                                                                                                            Total~      $
                                                                           (Use only on last page of the completed Schedule F.)
                                                        (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                             Summary of Certain Liabilities and Related Data.)
                                                                                                                                                     --
                 Case 15-20630                 Doc 1           Filed 06/15/15 Entered 06/15/15 02:23:45                                      Desc Main
                                                                Document     Page 21 of 48
B 6F (Official Form 6F) (12/07)

In re                                                                                                      Case No.
        ---------=~-------
                                      Debtor                              -'                                           - - - - (if kno,mr-------­


         SCHEDULE F - CR:EDIT'OR:S J-IOLDIN'G UNSE(:URED N()N][lRIORITY' CLAIMS
    State the name, mailing address, including zip code, and last four digits ofany account nurnber, of all entities holding unsecured claims without priority against
the debtor or the property of the debtor, as of the date offiling of the petition. The complete account number of any account the debtor has with the creditor is
useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See~ 11 U.S.C. §112 and Fed.
R. Bankr. P. l007(m). Do not include claims listed in Schedules 0 and E. If all creditors 'NiB not fit on this page, use the continuation sheet provider.

    If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X'~ in the column labeled "Codebtor," include the entity on the
appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wi fe, both of them, or themarital
community may be liable on each claim by placing an "1[," "W," "1," or "C" in the column labeled "Husband, Wife, Joint, or Community.'

     If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated."
If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X'~ in more than one of these three columns.)

    Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also cn the
Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities
and Related Data..

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        Check t hiIS box 1if debtor has no ere 1tors holdi              aims to report on th'IS SChed u Ie F
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      CREDITOR'S NAME,
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 ACCOUNT NO.
                                                                          Medical
  U of I Dept. 01' Radiology
  Illinois Collection Service
                                                                                                                                                  125.00
  8231 185th St. Ste. 100
  Tinley Park,lL 60487

 ACCOUNT NO.                                                              Misc.
  LVNV Funding                                                                                                                                  1,342.00
  625 Pilot Rd. Ste. 2/3
  Las Vegas,NV 89119

 ACCOUNT NO.                                                              May have interest in
 Natcreadj
                                                                          Aaron's Sales in Lease
 P.O. Box 550                                                             claim
 327 W. Fourth S1.
 Hutchinson, KS 67504

 ACCOUNT NO.




                                                                                                                          Subtotals-    $       1,467.00

 - -continuation sheets attached                                                                                              Total~    $
                                                                               (Useonlyon lastpageof the completed Schedule F,)
                                                            (Report alsoon Summary of Schedules and,if applicable, on the Statistical
                                                                                 Summary of Certain Liabilities and Related Data.)
                Case 15-20630                    Doc 1                 Filed 06/15/15 Entered 06/15/15 02:23:45                                                   Desc Main
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In re                                                                                                                  Case No.
                                  Debtor                                                                                                                    (if known)


          SCHEDULEF -                        CREDITO]~S                            HOLDING UNSE:ClfRED                             NOr~PRIORITY CLAIJ\;lIS
                                                                                         (Continuation Sheet)




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    AND ACC()UNT NUf\1BER                          0
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 ACCOUNT NO
                                                                                     medical
  Metrosouth Horne Health
  Professional Account Services                                                                                                                                          175.00
  POBox 188
  Brentwood, TN 37024-0188



 ACCOUNT NO.
                                                                                     notice for Country Club
                                                                                     Hills
  MCSI
  7330 College Dr
  Palos Heights, IL 60463

 ACCOUNT NO.                                                                         notice for Aarons Sales &
                                                                                     Lease
  NCA
  POBox 550237
  Hutchison, KS 67504-0550

 ACCOUNT       r.o                                                                   insurance
 Progressive Insurance
 Credit Collection Services
                                                                                                                                                                         103.00
 Two Wells Avenue
 Newton, MA 02459
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 ACCOUNT NO.                                                                         medical

    Pranger Smith                                                                                                                                                        93"7.00
    17495 S LaGrange
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          Park, IL 60487-7581                 """"---_---&.                                                    .      - - "_ _........._ _ --'L.....-_ _ -+-_.           _

 Sheet no.        or        continuation sheds attached                                                                                    Suhtotal~          $
 to Schedule of Creditors Holding Unsccured                                                                                                                            1,215.00
 Nonpriority Claims

                                                                                                                                               Total~         S
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                Case 15-20630                   Doc 1       Filed 06/15/15 Entered 06/15/15 02:23:45                                              Desc Main
                                                             Document     Page 23 of 48
l3 6F (Official Form 6F) (12/07)

In re                                                                                                     Case No.
                                       Debtor                                                                         - - - - - - - - f i f knon ~-~-------.----.--­


          SCHEDULE F - CREDITORS HOLDING UNSI~ClJRED N01'iPRIOI~11'YC~LAIMS
    State the name. mailing address. including zip code. and last four digits ofanj account number. ofall entities holding unsecured claim-: \\ ithout prio: it~ atl- ain-,t
the debtor or the property or the debtor. as or the date c I' liling or the petition. The complete account number of any aCCI.Hll1t the debtor ha-: \\ ith thl' creditor i-,
useful to the trustee and the creditor and Ina)' be provided if the debtor chooses to do so. If a minor child is a creditor. state the child's initials and the n.mc and
address of the child's parent or guardian. such as "A.B .. a minor child. by John Doc. guardian." \)0 not disclose the child's narnc. S.:e. 11 l '.S.C. ~ 112 and lcd
R. Bankr. P. 1007(ln). Do not include claims listed in :';chcdules D and 1-:. lfall creditors will not lit on this page. usc the continuation sheet pnl\ i..c.!

     II' any entity other than a spouse in ajoint case l11a) be jointly liable on a claim. place all .. x.. ill the columr labeled "Codebtor." inc.ud« till' eJ'ilit~ on the
appropriate schedule of creditors. and complete Schcdu c 11- Codchtors. l la joint petition is filed. state whether the husband. .vitc. both ofthem. or! u: m.uitul
C0l11111unity may be liable on each claim by placing an ..11.· . "\V." ".I:' or "C" in the column labeled "Husband. \\ilc . .loint. OJ' ('0Il11111JJlit~ .'

     If the claim is contingent. place an .. X" in the column labeled "Contingent." If the claim is unliquidated. place an .. x.. ,11 the column Libeled "l nl i. ui-. lured."
If the claim is disputed. place an '''X'' in the column labeled "Disputed." (You may need to place an "X" in InOI\~ than one of these three columns.:

    Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet or the completed schedule. Report this total al-,o (111 the
Summary of Schedules and. if the debtor is an individual with primarily consumer debts. report this total also 011 the Statistical Sununur. ofCcrtair: I <lhilities
and Related Data..

    o    Check this box ifdebtor 1as no creditors holding unsecured claims to report on this Schedule I'


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  Enhanced Recovery
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  POBox 5754'7
  Jacksonville, FL 32241
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 ACCOUNT NO
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  Cook County LLC
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  Escallate Inc.
  5200 Stoneham Rdste 200
  Canton, OH 44720
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 ACCOUNT NO.
                                                                       notice

  Midland Credit Mgmt Inc
  8875 Aero Dr Ste 200
  San Diego, CA 92123

 ACCOUNT NO                                                            credit card

    First Premier Bank                                                                                                                                   543.00
    POBox 5524
l..-Sioux Falls, SO 57117-5524            --l.._ _--'-           -L.                                 ,_ _...L-_ _L -_ _--.J            -+          -------1
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                Case 15-20630                    Doc 1        Filed 06/15/15 Entered 06/15/15 02:23:45                                                   Desc Main
13 61" (Official Form 61") ( 12/07)
                                                               Document     Page 24 of 48

In re                                                                                                          Case No.
                                        Debtor


          SCHEDULE F -                     CREDI~I'OFtS                HOLDING UNSE:CURED NOl'lPRIORIT'Y                                                       CLAIM~,

    State the name, mailing address. including zip code. and last four digits of any account number. ofall entities holding unsecured claims xvi thout priori> dgai nst
the debtor or the property of the debtor. as ofthe date ol filing ofthe petition. The complete account number of any account the debtor has with the c rc.Iitor is
useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor. state the child's initiul-, and th, .uunc and
address of the child's parent or guardian. such as "A.B .. J minor child. by John Doc. guardian." Do not disclose the child's name. Sec, II l .S.C. ~ I 1.2 ,.Ille! lcd
R. Bankr. P. 1007(111). Do not include claims listed in ~cheJulc~)) and L. llall creditors will not lit on this page. usc the continuation sheet prov idc.i.

    Ifany entity other than a spouse in ajoint case may be jointly liable on a claim. place an ..X" in the column labeled "Codebtor." include the cut t . on the
appropriate schedule of creditors. and complete Schedule 11- Codebtors. l ta joint petition is tiled. state whether the husband. wi lc. both ofthem. .ir rlll~ l1l~irildl
community Ina)' he liable on each claim by placing all "11." "W.' ".I,,' or "C" in the column lube led "Husband. \\,' i Ic . Iuint. ()r ('I )I11I1HII1 it. ."

     If the claim is contingent. place an "X" in the colunu labeled "Contingent." IIthe claim is unliquidated. place an"X" in the column labeled "l nliqLlidatcJ."
If the claim is disputed. place an "X" in the column labv lcd "Disputed." (You may need to place an "X" in 11101T than one of these three co lumus.)

    Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the corn plctcd schedule. Report th i~ total ~t1S() {in the
SUI11I11ary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary ofCcrtuir l.r.rbilitics
and Related Data..

    D    Check this box if debtor has no creditors holdin z unsccurc d c Iaims
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 ACCOUNT NO
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  American First Finance                                                                                                                                      551.00
  7330 W 33rd Street N St 112
  Wichita, KS 67205

 ACCOUNT NO.
                                                                          Notice for Illinois Tollway

  Arnold Scott Harris
  111 W Jackson Ste 400
  Chicago, IL 60604

 ACCOUNT NO
                                                                          Notice for Metro South

  Credit Control LLC
  5757 Phantom Drste 330
  Hazelwood, MO 63402
 ACCOUNT NO.                                                              Notice

 Diversified Consultants
 10550 Derwood PK B St 309
 Jackonville, FL 32256

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        continuation sheets attached                                                                                                 rotal>      $
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                  Case 15-20630                    Doc 1                Filed 06/15/15 Entered 06/15/15 02:23:45                                               Desc Main
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                                                                                                                     Case No.
                                       Debtor                                                                                                              (if knownj


          SCHEDULE F -                    CREDIT()I~S                         HOLDIN(; lJNSECIURED                               NONPRI()RIT~'T CL~j-\.IMS

    State the namc.rnailing address. including zip code. and .ast l()urdigits o luny account number. o la!l entities ho ldinu unsecured cluim-: \\ ithout pr iorit . 1~,Jilhl
the debtor or the property of the debtor. as of the date otfil ,l1g olthc petition. The complete account number ot' any account the debtor ha" \\ ith the cr.. . c.itor      1-'
useful to the trustee and the creditor and may he provided irthc debtor chooses to do so. Ira minor child is a creditor. state tile child's initia!-, <ind the n.uu.- dill!
address of the child's parent or guardian. such as "A.B .. a minor child. by John Doc. guardian" Do not disclose the child's name. Sec. 'II l .S ('. ~ 11.2 dill lcd.
R. Bankr. P. 1007(111). Do not include claims listed in Schedules D and L. l lall creditors will not lit on this page. lise the continuation sheet pn)\ i.lcd

    Ifany entity other than a spouse in a joint case Inay be jointly liable on a claim. place all .. x·· in the column labeled "C,)llchh)J'.·' .ncludc the cni it, uti the
appropriate schedule of creditors. and complete Schedule I - Codcbtors. l ta joint petition is filed. <tate whether the husbanci. wi lc. both otthcm. or tlu: II';ritlil
community I11a)' be liable on each claim by placing an "I I. . "\\'." ".1." or "C" in the column labeled "l lushand. Wi!c. Joint. or ('0I11Jl111I1it~.'"

     If the cIaiI11 is contingent. place an "X" in the column labeled "Contingent." If the claim is unliquidated. place an "X" in the column labeled '"l uliquid.ucd.'
If the cIaiI11 is disputed. place an "X" in the column labeled "Disputed." (You 111ay need to place an "X" in I1101'e than one ofthese three columns.)

    Report the total of all claims listed on this schedule ill the box labeled "Total" on the last sheet of the completed schedule. Report thi-: total dl~() Of' .hc
SUI11mary ofSchedules and. if the debtor is an individual vith primarily consumer debts. report thi-, totnl also on the SLltistical SllmmJr~ (lr( 'crt.iiu li~I'''lilitie'',
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 ACCOUNT NO
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  Fitzsimmons Surgical Supply                                                                                                                                       75.00
  8000 W 186th Street
  Tinley Park, IL 60487

 ACCOUNT NO.
                                                                               ordinance
  Village of South Holland
                                                                                                                                                                  250.00
  MCSI
  7300 College Dr
  Palos Heights, IL 60463
                                                                                                              -
 ACCOUNT NO
                                                                               car

  U S Bank                                                                                                                                                      17,023.00
  15425 Walnut
  Cincinnati, OH 45202
                                                                                                                                                                        -­
 ACCOUNT NO.




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 --     continuation sheets attached                                                                                                   /'otdl>­        S
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              Case 15-20630                     Doc 1             Filed 06/15/15 Entered 06/15/15 02:23:45                                                  Desc Main
                                                                   Document     Page 26 of 48
B 6F (Official Form 6r) (12107)

In re                                                                                                              Case :\0.
                                       Debtor                                                                                   -----~-----l:if                kno"l1)-----------­


         SCHEDULE F - CIIEDI~rORS HOLDING UNSECtJRED N()NPllIORI1~Y(:LAI1\/]S
    State the name. mailing address. including zip code. and last lour digits ofany account number, o lall entities holding unsecured c lui m-:\\ iihout pri. )":l:, .Jt:llinst
the debtor or the property of the debtor. as of the date of fi ling or the petition. The complete account number of any account the debtor hll:-. \\itl the creditor i~
useful to the trustee and the creditor and may be proviccd if the debtor chooses to do so. If a minor child is a creditor. state the chi ld'« iniua!-. and ttll.' n 1Il1e and
address of the child's parent or guardian. such as "A.B .. a minor child. by John Doc. guardian." 1)0 not disclose the child's na111e.\..;ee. 11 l ' ..~,C. ~ I L~ and lcd
R. Bankr. P. 1007(111). Do not include claims listed in Schedules () and L. llall creditors will not lit on this puge. usc the continuation -hcct pro, i.lcd

     Ifany entity other than a spouse in (J joint case Inay be jointly liable on a claim. place an .. x.. in the column labeled "Codebtor." include the cr ut , on the
appropriate schedule of creditors. and complete Schcdi Ie 11- Codcblors. l la joint petition is filed. state whether the husband. wi lc. both o lthcm. or .h, marital
C01l1111Unity may be liable on each claim by placing an "11.'· "\V"· .0.1:. or "C·' in the column labeled --I lusband. \ViIC. Joint. or Connuunit. .'

     If the claim is contingent. place an .. X" in the column labeled "Contingent." If the claim is unliquidated. place an "X" in the column labeled "'l nli..uid.ucd."
If the claim is disputed. place an .. X" in the column labeled "Disputed." (You Illa)' need to place an .. x.. in more than one or these three COIUIllJ1S,!

    Report the total of all claims listed Oil this schcdu c in tile box labeled "Total" on the last sheet o l the completed <chcdulc. Rcport thi- toal : I~,() Of] the
Summary of Schedules and. if the debtor is till individual vvith primarily consumer debts. report this total ;.!I-.;u on thl' \ldlistic;.t! SUmlJ1dr: o lCcrtniu I i.rhilitc-.
and Related Data..

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 ACCOUNT NO.
                                                                             possible rent
                                                                             debtor constructively
  Mack Properties                                                            evicted carpenter ants                                             x
  6820 Centennial Drive
  Tinley Park, IL 60477

 ACCOUNT      r.o




                                                                                                          -
 ACCOUNT NO.




 ACCOUNT NO_




                                                                                                           -
                                                                                                                                     Suhtotal~          S

 _ _continuation sheets attach cd                                                                                                             lotal~    S
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B 6G (Official lorm 6G) ( 12107)

In re                                 _                                                Case No.
                     Debtor




         Describe all executory contracts 0 I'any nature and all unexpired lca-c-: or real or personal propcrtv . inc i udc ,.lIl: ! inrc-n.nc
    interests. State nature or debtor's interest ill contract. i.c.. "Purchaser." --/\t!cnL" etc. State whether debtor I:"; the lessor or
    lessee of a lease. Provide the names and completemailingaddressesol.allotherpaniestoeacllieascorcolltractdescrihed.lr
    a minor child is a party to one of the leases or contracts, state the child's initials and the name (1)1(.1 address 0 t the chi ld's parent
    or guardian, such as "1\.13., a minor child. by John Doc, guardian." Do not disclose the child's name. Sec. 11 l i.S.C. ~ II ~ and
    Fed. R. Bankr. P. 1007 (In).


D Check this box if debtor has no executory contracts or unexpired leases.

            NA\lE A\D 1\1AILI~C ADDRESS,                                     DESCRI PTI()\, ()F C()\,' I'RA("( ()I~ LEASE .\\ D
                INCLUDI\G ZIP C()DE              1                              \'ATl'RE ()F DEBT()I~'S 1\'1' EREST. STATE
   ()F ()TIIER PARTIES T() LEASE OR C()~TRACT.                               '\'11 ETII EI~ LEASE IS Fl OR xo \ RESII)I,~\'I·(.\ I ~
                                                                                   REAL PR()PERTY. :,-,TATl<~. C().\TR.\C'I
                                                                             Nll\lBER ()F A~Y G()"I·~R.\'lI -::\'1' C().\TRACT.



  Mack Properties                                                        Debtor is tenant
  6820 Centennial Drive
  Tinley Park, IL 60477
           Case 15-20630                   Doc 1    Filed 06/15/15 Entered 06/15/15 02:23:45                                   Desc Main
                                                     Document     Page 28 of 48
B611    rofticia I For III 611) (1 2/(7)
In re                                                                                               Case :'Jo.
                          Dehtor                                                                                             (if known)


                                                    ~.,(:~I-II~I)lJL.J~   11 -   (~()1)11~lll'()RS

     Provide the information requested concerning dny ::1lTSOn or entity. other than a spouse in a joint case. that is also liable 01 any debts li-tcd b~ the
debtor in the schedules or creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state.
connuonwculth. or territory (including Alaska. Ari.tonu, California. Idaho. Louisiana. Nevada, New Mexico. Puerto Ricu.Tcxas. Washington. o:
\\'isconsiIl) within the eight-year period immcdiatc!y preceding the commencement ofthe case. identify the name ofthe debtor's xpousc and oj ar:
former spousc \\ ho resides or resided \\ ith tile dcbtir ill the community property state. commonwealth. or territory. Include all names used b; till'
nondcbtor spouse during tile eigllt ycur-: immediately' preceding tile commencement I.1rthis case. Ira minor child is a codebtor or a creditor. stak .hc
child's initials and the name and address or the chill'x parent or guardian. such as "A.n .. a minor child. b) Jolin Doc. guardian." Do not disclo:« tlc
child's name. Sec. II l~.S.C. ~112 and I.'ed. It Banl.r. P. I007(m).

~    Check this box i I' debtor has no codchrors.


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                   Case 15-20630            Doc 1               Filed 06/15/15 Entered 06/15/15 02:23:45                                            Desc Main
                                                                 Document     Page 29 of 48



                           Akilah                                                 Huisar
  Debtor 1
                            First Name           Middle Narn-                     Last Name


  Debtor 2
  tSDCUS€,     t fillng\    firs! NiJnlP



  United States Bankruptcy Court for the'         Nortnern C istrict of tllmois

  Case number                                                                                                           Check it thrs    !S
      (If known)

                                                                      ---------~                                       DAn amended filing
                                                                                                                       D A supplement showing post-petition
                                                                                                                           chapter 13 income as of the following c ate

Official Form B 61                                                                                                         MM I DD I YYYY


Schedule I: Your Irrcome                                                                                                                                                    12/13

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are marriecl and not filing jointly, and your spouse is living with you, include infonnation about your spouse.
If you are separated and your spouse is not filinq with you, do not include information about your spouse. If more space is needed, attach 3
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


l1li                       Describe Employment


 1,    Fill in your employment
       information.                                                                     Debtor 1                                          Debtor 2 or non-filing spouse

       If you have more than one job,
       attach a separate page with
       information about additional         Employment status                      D Employed                                            D Employed
       employers.                                                                  lZJ Not employed                                      D Not employed
       Include part-time, seasonal, or
       self-employed work.
                                            Occupation
       Occupation may Include student
       or homemaker, if it applies.
                                            Employer's name


                                            Employer's add ress
                                                                                    Number    Street                                    Number     Street




                                                                                    City               State   ZIP Code                 City                    State   ZI;:) Cede

                                            How long em cloyed there?



_ _ Give Details About Monthly IncIlme

       Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non·1ilirg
       spouse unless you are separated.
       If you or your non-filing spouse have more than Ole employer, combine the information for all employers for that person on the lines
       below. If you need more space, attach a separate sheet to this form.

                                                                                                                   For Debtor 1         For Debtor 2 or
                                                                                                                                        non-filing spouse

  2.     List monthly gross wages, salary, and commissions (before all payroll
         deductions). If not paid monthly, calculate what t ie monthly wage would be.                  2,
                                                                                                               $

  3.     Estimate and list monthly overtime pay.                                                       3.   +$                      +          $            _



 4.     Calculate gross income. Add line 2 + line 3.
                                                                                                                    -J ~---~
Official Form B 61                                                         Schedule I: Your lncorne
             Case 15-20630                       Doc 1       Filed 06/15/15 Entered 06/15/15 02:23:45                                                            Desc Main
                                                              Document     Page 30 of 48
                  Akilah                                                       Huisar
 Debtor 1                                                                                                                Case number   (If ",1,111(;)                                            _
                  First Name       Middle Name        Last ~;arnf'




                                                                                                                   For Debtor 1                         For Debtor 2 or
                                                                                                                                                        non-flnnu spouse
       Copy line 4 here                           .           ............................................ ~ 4.    s                                        $._---­

 5.    List all payroll deductions:

        Sa. Tax. Medicare. and Social Security deductions                                                  Sa      s- - - - - - -                           $---------
        Sb. Mandatory contributions for retirement plans                                                   5b.     G'
                                                                                                                   ,,)



        5c. Voluntary contributions for retirement plans                                                   5c.     $                                        $-------­
        5d. Required repayments of retirement funa loans                                                   ScI     $                                        $---_._--­
        5e. Insurance                                                                                      5e.     $                                        $-------­
        Sf. Domestic support obligations                                                                   5'[     $- - - - - - -                           $     _

        5g. Union dues                                                                                     5!l     $                                        $----­
        5h. Other deductions. Specify: .                                                                   511. +$                                      +   S         _

  6.    Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +51' + 5g +5h.                         6.     s
  7.    Calculate total monthly take-home pay. Subt.act line 6 from line 4.                                 7.     $


 8.    List all other income regularly received:
        8a. Net income from rental property and frorn operating a business,
            profession, or farm
            Attach a statement for each property and bL siness showing gross
            receipts, ordinary and necessary business Expenses, and the total
            monthly net income.                                                                            8a.
        8b. Interest and dividends                                                                         8b.
        8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
                                                                                                                   $
            settlement, and property settlement.                                                           8e.

        8d. Unemployment compensation                                                                      8d.     $                                        $     .        _
        8e. Social Security                                                                                8e.     $                                        $----­
        81'. Other government assistance that you reqularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (beneits under the Supplemental                                  $      1.220.00
            Nutrition Assistance Program) or housing sunsld.es.
            Specify: VA Disabilitv $1026 Food S'~arrIPs $194                          8f.

        8g. Pension or retirement income                                                                   8g.     $                                        $              .

        8h. Other monthly income. Specify:                                                                 8h. +$

 9.    Add all other income. Add lines 8a + 8b + 8e + Bd + 8e + 81' +8g + 8h.                               9.    I$      1.220.00

10. Calculate    monthly income. Add line 7 + line 9.
       Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                           10.1   $      1.220.00

11.    State all other regular contributions to the expenses that you list in Schedule J'.
       Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
       other friends or relatives.
       Do not include any amounts already included in lines 2'-10 or amounts that are not available to pay expenses. listed in Schedule J.
       Specify:                              _                                                                                                                            11.   +   $                _



                                                                                                                                                                                    ~22C~gJ
12.    Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
       Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data. if it applies                                       12
                                                                                                                                                                                    Combined
                                                                                                                                                                                    monthly income
 13. Do you expect an increase or decrease within 1he year after you file this form?
       [l] No.
       D    Yes. Explain:      1                            _


Official Form B 61                                                         Schedule I: Your Income                                                                                      page 2
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      Fill In this Information to Identify your case:

      Debtor 1              Akilah                                                     Huisar
                             First Name              Middle Name                                                           Check If this is:
      Debtor 2
      (Spouse, If filing)    First Name              Middle Narr e                     Last   Naill(­
                                                                                                                           DAn arnended filing

      United States Bankruptcy Court for the'         Northern Dist -iet of Illinois
                                                                                                                           D A supplement showing post-petition chapter 13
                                                                                                                               expenses as of the following date:
      Case number                                                                                                              MM / DO / YYYY
      (If known)
                                                                                                                           D A separate filing for Debtor 2 because Debcr :2
                                                                                                                               maintains a separate household
 Official Form B 6J
 Schedule J: Your EXpE!nSeS
 Be as complete and accurate as possible. If two rr arried people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your narne and case nurr.bor
 (if known). Answer every question.

I1:1III                     Describe Your Household

1.    Is this a joint case?

      [Z] No.       Go to line 2.
      D Yes. Does Debtor 2 live in a separate household?
                   DNo
                   D        Yes. Debtor 2 must file a separate Schedule J.

2.    Do you have dependents?                      DNo                                                  Dependent's relationship to             Dependent's    Does dependent live
      Do not list Debtor 1 and                     [Z] Yes. Fill out this information for               Debtor 1 or Debtor 2                    age            with you?
      Debtor 2.                                        each dependent.

      Do not state the dependents'                                                                       son                                    3
      names.

                                                                                                         daughter                               3




3.    Do your expenses include
      expenses of people other than
                                                  [Z] No
      yourself and your dependents?               DYes


II1II               Estimate Your Ongoing Monthly I:xpenses

Estimate your expenses as of your bankruptcy fi ing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is file d. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash qovernment assistance if you know the' value
of such assistance and have included it on Schetiule I: Your Income (Official Fonn B 61.)                                                           Your expenses

 4.    The rental or home ownership expenses for your residence. Include first mortgage payments and
       any rent for the ground or lot.                                                                                                    4

        If not included in line 4:
        4a.     Real estate taxes                                                                                                         4a        s                     _
        4b.     Property, homeowner's, or renter's insurance                                                                              4b        s                    ._
        4c.     Home maintenance, repair, and upkeep exoenses                                                                             4e        s                    ._
       4d.     Homeowner's association or condominium dues                                                                                4d        $-----------_._­

Official Form B 6J                                                      Schedule J: Your Expenses
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                      Akilah                                                       Huisar
  Debtor 1
                     First Name   Middle Name            Last Name




                                                                                                                         Your expenses


  5.   Additional mortgage payments for your residence such as home equity loans
                                                                                                                     s.                     .       _

  6.    Utilities:
        6a.   Electricity, heat, natural gas                                                                   f3a
                                                                                                                     $--------­
        6b.   Water, sewer, garbage collection                                                                 6b    $-------­
        6c.   Telephone, cell phone, Internet, satellite, and cable services                                   6c    S                   JillJl[L
        6d.   Other. Specify:                    _                                                             E>d   S                              _

  7.   Food and housekeeping supplies                                                                                S        ._ _ ~125. OCL
  8. Childcare and children's education costs
                                                                                                                     $-------------­
  9.   Clothing, laundry, and dry cleaning                                                                           $-             -2illLllil_
10.    Personal care products and services                                                                     10    S                   -fuUl(l­
11     Medical and dental expenses                                                                             11    S                   1fi1.J)JL
12.    Transportation. Include gas, maintenance, bus           0/'   train fare.
       Do not include car payments.
                                                                                                                     S                   320 .00 _
                                                                                                               12

13.    Entertainment, clubs, recreation, newspapers, magazines, and books                                      13    $               ~1._

14.    Charitable contributions and religious donations                                                        14    $-----------­
15.    Insurance.
       Do not include insurance deducted from your payor included in lines 4 or 20.

       15a.   Life insurance                                                                                   15a   S                    2~.OQ_

       15b.   Health insurance                                                                                 15b   $                   300.012 _
       15c.   Vehicle insurance                                                                                15c   $               ~1l_

       15d. Other insurance. Specify:-.!2ental           _                                                     15d   $               ---.81LC~      _

16.    Taxes. Do not include taxes deducted from your oay or included in lines 4 or 20.
       Specify:                                  .                                                             16
                                                                                                                     $------------ ­


17.    Installment or lease payments:

       17a.   Car payments for Vehicle 1                                                                       17a   $                              _

       17b. Car payments for Vehicle 2                                                                         17b   $--------------­
       17c. Other. Specify:               _                                                                    17c   $-------_._-­
       17d. Other. Specify:                  _                                                                 17d   $------------­

        Your payments of alimony, maintenance, and support that you did not report as deducted
18.
       from your pay on line 5, Schedule I, Your Income (Official Form B 61).
                                                                                                                18   s                           _

19.    Other payments you make to support others who do not live with you.
       Specify:                          _                                                                      19   $                              _


20.    Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your lncome.

       20a.   Mortgages on other property                                                                      20a   $--------------­

       20b.   Real estate taxes                                                                                20b   s                              _
       20c.   Property, homeowner's, or renter's insurar ce                                                    20c   $                           _

       20d.   Maintenance, repair, and upkeep expense s                                                        20d

       20e.   Homeowner's association or condominium dues                                                      20e   $                           _



Official Form B 6J                                                    Schedule J: Your Expense-s                                            page 2
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 Debtor 1                                                                                        Case number   I

                  First Name    Mlddl~   Name




21.     Other. Specify:                    _                                                                        21    +$                        _


22.    Your monthly expenses. Add lines 4 through 21.                                                                                  2,138.00
                                                                                                                           $-_._------------­
       The result is your monthly expenses                                                                          22




23.   Calculate your monthly net income.

      23a.   Copy line 12 (your combined monthly incomes from Schedule I.                                          23a.


      23b.   Copy your monthly expenses frorn line 22 above.                                                       23b    .- S         ~~Q          _
      23c.   Subtract your monthly expenses from your monthly income.
             The result is your monthly net income.                                                                23c    [L=== -918.~~~J
24.   Do you expect an increase or decrease in you r expenses within the year after you file this form?

       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      [Z] No.
      DYes.         Explain here:




Official Form B 6J                                           Schedule J: Your Expenses                                                       page   :~
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 B() Declaration (Official lorm (, - Dcclarauon : Ii.:'      1)71



               In re                        _                                                                                                            (asc   "0.
                                         Debtor                                                                                                                                             (if k nuw (1)




                             DECLARATI()N CONCERNING DEBTOR'S S(::HElllJLES

                                                DFCI.ARATION (INULR PLNALTY OF J>LR.lURY B'{ INDIVIDUAL DLBTO!\



       I declare under pcnaltv or pcrjur. that I ha\ e read the 'oregolng summarv and schedules. COllslstlng                                                 01'
111) knowledge.        informauon. and hcl icf


                                                                                                                                            ~>
                                                                                                                              Slgl1aturc-'~'»
                                                                                                                                                       )

                                                                                                                                                            \
Date                                                                                                                          Signature



                                                                                                                                     11Ijoin!      case. hinh spouses IllllSt      sl~!ll




                            DECLAR,\TIO\ :\\1) SIC\,\Tl;Rl: OF \O;\-:\TTOR~EYB.\\~IUPT(,Y PE IITIO\ PIU':P:\RER (See II l.S.C. ~ 110)

   I declare under penalty ofperjury that (I) I am a bankruptc. pennon prcparcr as defined                                     In 11 I JSC ~ 11() (~) I prepared thiS dorumcnt                                   I'll[   l'()rnpell~<I\lt)ll ~llhj h.r, ,:                   1'[\'\   Lul

the debtor WIth a copy of this document and the notices and III ormation required under 11                                     USC ~~ II00b). 110(h) and ~,-t:2(bL ~JIlcL (~I II rules tl! ~:Lll,kllll\.:" 11~1\,'                                                    h':l'll
promulgated pursuant to I I LJ S C. ~ I 1(J( h) sctu ng a maxunum l'tx for services chargeable                                 by han krupt cv pctiuon prcparcrs. I have g I \ ell the . . !cblt)[ not I C,-' o( tfll' m.: \                                            111'UI!i

amount before preparing any document for fillTlg for a debtor or acccpung any Icc from the                                     debtor. as required b~ that sccuon



Printed or Typed Name and Title. If anv.                                                                 Social SccurJt~' No
of Bankruptcy Pcution Prcparcr                                                                           (Nt'(III/I','d   h\ J J f,\,( , \\ / !n,1

Itth: bunkruptcvpcntron !)re-pun'r      IS !If)1 Ull   nu hvt.l uu],   \{ult' /I ll, 1/1I/Jlt', II/It'   0/ (11/\'), adclrcs».   Ul/d_\lltl,J/Il't/'r'I\-l/l/lIlh,'l' III    ih,    11/,'I(l'l, /1/,///, ///,11_           '(\/)1111\:11/,          l':   1'1, 't!,    "I"   /),'I!',','
who signs tlii» docutncnt.




X
 Signature of Bankruptcv l'ctition Prcparcr



Names and SOCIal Security numbers ofall other indrviduals                   \\110    prepared      Of    asslstl'd In prcpan nu thiS document unlc-.-. the1dllkr.lptc\ pcuion pr\.~[larel                                                  I" not ,,11111,:1\            l,lL;l'




A bankruptcvpcunon prcparcr'stailurc to coniplv wtth th« l'n)!'lsll             ns   ottit!« J/    unc!    the Fedvrul NII/e,\      iJ/11u/lAI'IIj7ItT     lroccdur« nu t:   1'1'\11/1   .n tincs    i   i]:   ,lil!'rJIIJllIill'll/   c   u:   I,,,/!,. / j            \!
18 (!.S('. ,\1.: 156




                   DECLARATI():\ t;:\DER PE\,\LTY ()F PER.Jl"RY ()\ BEIL\IJ"                                                                       ()F:\      C()RP()R,-\T(()\                      ()I~         P.\RT\J<RSIIIP


       L the                                                           Ithe    prcsidc.u or other officer or an authorized agent                                or
                                                                                                                                  till' corporuuon or a I1L'mh~'r or .u dutlfllll/,',1 J!~lTt (1IlIL'
partnership    I ofthe                  _                                            [corporation or partncrship l namcd as debtor III thi« case. declare under p\.:Il~llt\ o( I'd lll\ ih:u 111.1\,'
read   the foregoing summary and schedules, consisting or                                 sheets     tTotal shown on             SlIlJlIJl(IJ~I'   page plus I). and that          th~'\ arc true and correct                              tl)   till'    hl'st       or 111\
knowledge, information. and bel icf



Date
                                                                                                               SIgnature




[An individual signing on behalfota partnership or corpi.ratron must indicate POSIIIOIl or rclattonship to debtor. /


Penaltvfor making a false statement or concealing propeitv: l-ine or up to $)(l().()()() or unpnsonmcnt lor up to .';; \ears or- both                                                                IS lS (' ~~ I';;~ ~lI1l:'.~71
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137 (OITicw] Form 7) ((l...j./13)




                                                   Northern District of 111 inois



In re: Akilah Huisar.. . __.           .     ~.~          ._                Case No.
                            Debtor                                                               (i Ik novvn )




                                           S'l~AT'I~MI~Nl'     OF FINANCLt\L            j\I~J1-'AIRS


           This statement is to be completed by every debtor. Spouses filing a joint petition may fi.c a xinulc statement Oil which
the information for both spouses is combined. Ifthe case is filed under chapter 12 or chapter IJ. a married debtor 1l1~ISt lurni-h
information for both spouses whether or not ajoint petition is filed. unless the spouses arc separated and a joint petition is nut
filed. An individual debtor engaged in business as a sole proprietor. partner. lam ily farmer. or self-employ cd professional.
should provide the information requested on this statement concerning all such activities as vvcll as the indix idu.rl's personal
affairs. To indicate payments, transfers and the like to minor children. state the child's initials and the name and address IJr the
child's parent or guardian. such as "A.B .. a minor child. by Jolin Doc. guardian." Do not disclose the child's name. Sec. 1 I I .S.C.
~112 and Fed. R. Bankr. P. 1007(ln).


          Questions I - 18 arc to be completed by all debtors. Debtors that arc or have been ill business. th defined bclovv. al-.o
must complete Questions 19 - 25. If thc .nswcr to an applicable (Iucstion is ":\ one," mark the box Iahelcd ":\ OIlC." Ir
additional space is needed for the al1"l\\ero any question. usc and attach a ~;cparak <hcct proper!. idcnti lied \\ uh the c.r-.c n.unc.
case number (ifknown). and the number (II' tile question.


                                                               J)   t.nsnio«:
           "In business." A debtor is "in busincss'' for the purpose of this form if the debtor is a corporatior or p.rrtncr-.hip.. \n
individual debtor is "in business" lor the purpose of this form i f the debtor is or has been. with in xix years immediately prcccd ing
the filing of this bankruptcy case. any oft rc following: an officer. director. managing executive. 01° owner or.:' percent or more
or the voting or equity securities ora corporation: a partner. other than a limited purtncr. ofa partnership: ;:. sole proprietor or
self-employed full-time or part-time. An ndividual debtor also may be "in buxincss' lor the purpose of this lor:n if the debtor
engages in a trade. business . or other actix ity. other than as all employee, to supplement income /'°0111 the dchtor« primal'.'
employment.

            "Insider." The term "insider" includes but is not limited to: relatives of the debtor: general partners or the debtor and
their relatives: corporations of which the c ebtor is an officer, director. or person in control: officers. directors. and an: pcrson-, in
control of a corporate debtor and their rel: tivcs: affiliates of the debtor and insiders or such affil i.ucs: and ;1I1: mllnaging agent ()f
the debtor. II U.S.C. ~ 101(1). (31).




            1.    Income from employment or opcration of husiness

None       State the gross amount or income the debtor has received from employment. trade. or pro lcxxinn. or from operation III
[2]        the debtor's business, including part··tilne activities either as an employee or in independent trade or business. lrom the
           beginning of this calendar year to the date this case was c0I11111en(:ed. State also the gros~; amounts rcccix cd durinj; the
           two years immediately preceding this calendar year. (A debtor that maintains. or has maintained. iinunciu records on
           the basis of a fiscal rather than a calendar year may report fiscal year income. Idcnti I) tile beginning .md ending datl':-'
           of the debtor's fiscal ycar.l l la oint petition is filed. state income for each spouse separately. (J\111lTi\.~d debtor- filing
           under chapter 11 or chapter 13 must state income or both spouses whether or not a joint petition is filed. unlc-,-. the
           spouses arc separated and a join: petition is not filcd.)

           Arv10lJNT                                                   SOURCL
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 137 (Official Form 7) (Cl4/13)


            2.    l ncnme other than from cmplovmcnt or opcration of husincss

 None       State the amount of income received by the debtor other than from cmplovmcnt. trade. profc-xion. operation or the
D           debtor's business during the tw» years immediately preceding till' commencement of this case. (ii\c particulars. 1j"~1
            joint petition is filed. state inco ne tor each spouse separately. (Married debtors liling under chapter 12 or chapter ].~
            must state income for each spouse whether or not a joint petition is filed. unless the spouses arc separated and d jui.it
            petition is not filcd.)

            AMOlJNT                                                       SOlJRCF

           2014 $10920                                       VA Disability
           2013 $10920



            3.    Payments to creditors

            Complete a. or b., as appropricte, and c.

            a. Individual orjoint debtorts) vith pritnarilv consumer debts: List all payments 011 loans. instal lmcn l purchases or
            goods or services. and other debts to any creditor made within 90 days immediately preceding the commcuccmc.u or
            this case unless the aggrcgate \ .iluc 0 I"all property that constitutes or is affected hy such transfer is Ie~;s than S()()().
            Indicate with an asterisk (*) an: payments that were made to a creditor on account or a domestic support oblie.uion or
            as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling
            agency. (Married debtors filin; under chapter 12 or chapter 13 must include payments hy either or both spouscs
            whether or not ajoint petition i: filed. unless the spouses are separated and a joint petition is not filcd.)

            NAMF AND ADDRESS OF CRFDITOR                                  DATFS OF                  Arv1()lIN'I'            /\;\l()l   '~T

                                                                          PAYMLNTS                  PAID                    STili () \\ 'I ~\ ( i




None

[{]        b. Debtor whose debts are no! primarily consumer debts: l.ist each pavnicnt or other traustcr 10 anv creditor mad:
           within 90 days immcdiutcly preceding the commencement of the case unless the aggregatc value oral! property tha:
           constitutes or is affected by SUC:l transfer is less than $6.225', If the debtor is an individual. indicate vvith an asteri~k
           (*) any payments that \VCIT made to a creditor on account ola domestic support obligation or as part o tnr altcrnativ c
           repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agellCY. I vlunicd debtors
           filing under chapter 12 or chapter 13 must include payments and other transfers by either or both SPOllSCS whether or
           not a joint petition is filed. unlc ss the spouses arc separated and a joint petition is not filcd.)

            NAML AND ADDRESS OF CREDITOR                                  DATFS 01:                Aiv10l'NT               :\\l()l';\'1
                                                                          PA Yi\1LNTS/             PAID OR                 STILI
                                                                         TRANSFFRS                 V AIlJF OJ:             0\\'1'1\(;
                                                                                                   'I'RANSI:I,RS




           *Amount subject to adjustment on     .ji{).1   J6, and el'e,y three vears thereafter with respect to case:   C()J}JIIlL'IlU./c! Oil   I))'


after the date ofadjustment.
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 B7 (Of/lelal lorm 7) (04/13)


 None

[{]        c. A /I debtors: List all payrncn s made within one year immediately preceding the commencement of this case
           to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 OJ chapter 13 mu-t
           include payments by either or both spouses whether or not a joint petition is tiled. unless the spouses are separated and
           a joint petition is not filcd.)

           NAML A.Nl) ADDRLSS 01: C {IJ)ITOR                    DI\TI· OF            A \10l IN'!'         :\ i\'1< )l ;-, I
           AND RELATIONSIIIP TO ULBTO!<.                        P1\ Y IY1 L 0J I'    PAID                 STILI ()\\I,(;




           ·t Suits and administrative proceedings, executions, garnishrllents and attachments

None       a. List all suits and administrative proceedings to which the debtor is or \vas a party within one year immcdiatcl,
[Z]        preceding the filing of this bankruptcy case. (Married debtors liling under chapter 12 or chapter 13 must include
           information concerning either o : both spouses whether or not a joint petition is filed. unlcs-. the S[10US('S arc scpar.ucd
           and a joint petition is not fi lcd.)

           CAPTION OF SUIT                N!\TlJRL OF                 COlJ RT OR I\C;FNC'{                STATllS OR
           AND CASL NlJi\1BLR             PI{OCLLDINCi                I\ND LOCATION                       DISPUSITION




None       b. Describe all property that ha: been attached. garnished or seized Linder an) legal or equitable pn)Cl'SS \\ ithin ollie
[Z]        year immediately preceding the cor.uncnccmcnt of this case. (Married debtors liling LInder chapter L~ or chapter 1.~
           rnust include information concerning property or either or both spouses whether or not a joint pel ition is Iiled. unlc-.-:
           the spouses arc separated and a. oin: petition is not filcd.)

           NAME AND ADDRESS                                           DATE OF                            () I:SC RI   ()~ rn
           OF PERSON FOR \VHOSl~                                      SEIZURE                            AND VALlil·
           BENEFIT PROPERTY WAS S ·:I/IJ)                                                                OJ·' PROPI·:RTY




          5.    Repossessions, fureclosurcs and retu rns

None      List all property that has been repossessed by a creditor. sold at a foreclosure sale. transferred through a deed in I icu
[{]       or foreclosure or returned to the seller. within onc year immediately preceding the commencement or lhis case.
          (Married debtors filing under chapter Il2 or chapter 13 must include information concerning propcn . o tc.thcr or both
          spouses whether or not a joint petition is tiled. unless the spouses arc separated and a joint pctuion i~ /lut li lcd.)

          NAME AND I\[)[)RLSS                             \)ATI·: Of: RLPOSSLSSI01\.                     I) I·: S( , I'~ II)'I'] ( ) \J
          OF CREDITOR OR SLLLLR                           ,.'0 RL C LOS LJ RL S/\ L I·:.                 .'\:\J) v.vrir
                                                          TRANSFER OR RI·:TlJRN                          01" PROP/,:RTY
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          6.    Assignmcnts and receiverships

          a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the
          commencement of this case. (Married debtors tiling under chapter 12 or chapter 13 11lUSt include any assignment h)
          either or both spouses whether ,)I" not ajoint petition is tiled. unless the spouses are separated and a joint petition is not
          filed. }

          NAMI': AND ADDRESS                   DATI': OF                            TERMS OF
          OF ASSIGN LI':                       ASSIGNMENT                           /\SSIGNMEN'I'
                                                                                    OR SETTLEMENT




None      b. List all property which has been in the hands of a custodian, receiver. or court-appointed official within one year
o         immediately preceding the conmcnccmcnt of this case. (Married debtors filing under chapter )2 or chapter )J must
          include information concerning property of either or hoth spouses whether or not a joint petition is filed. unless the
          spouses are separated and a joint petition is not filed.)

          NAML AND ADDRESS                    NAME AND LC)CATION                    DATE OF              DESCRIP'l'ION
          01,' ClJS'I'()I)IAN                 OFCOlJRT                              ORDER                ANDVALUE
                                              CASL TITLE & NUMBER                                        OfPROPFRTY




          7.   Gifts

None      List all gi ftx or charitable contributions made within one year immediately preceding the commcncerncnt of this case
[{]       except ordinary and usual gifts to family members aggregating less than $200 in value per individual fami Iy member
          and charitable contributions aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or
          chapter 13 must include gifts 0]' contributions by either or both spouses whether or not ajoint petition is filed. unless
          the spouses are separated and a joint petition is not Iilcd.)

          NAME AND ADDRESS                    RELA'rlONSHIP                        DATE                  DESCRIP']'ION
          OF PERSON                           TO DEBTOR~                           OF GIFT               AND VALUE
          OR ORGANIZATION                     IF ANY                                                     OF GIFT




          8.   Losses

           List all losses from fire. theft. cther casualty or gambling within one year immediately preceding the commencement
          of this case or sincc the commencement of this casc. (Married debtors tiling under chapter 12 or chapter 13 must
          include losses by either or both spouses whether or not ajoint petition is filed. unless the spouses are separated and a
          joint petition is not filcd.j

          DESCRIP'I'ION                  DLSCRIPTION       or
                                                         CIRCUMSTA\~CES AND, IF                          DATI:
          AND VALUE OF                   I ass \VAS COVERED IN WHOLE OR IN PART                          C>F LOSS
          PROPERTY                       PY INSURANCE. GIVE PARTICULARS
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 "-,Uil   t   Lis: dli P:l\ mcnts made or nrnr cnv transfcrrcd i): or 1m bch.il r 01 the debtor to an~ pcrsonx. inc: ud.n.: ;lttc,r:ll')s. jur
[(]           consultation concerninc debt c.msolidauon. relict under the bankruptcv la\\ or preparation of anctiuou 111 hal1krl.lptL.:\
              -vitlun nne vcar unmcdiatclv prcccdmu the commencement orthi~ case.

              N/\ML AND ADDRLSS                     D;\Ti-: or PA VrvlF\JT.               /d\;l () l ! N T 0 I: !\-1 I) J\ L Y () R
              OF PAVEL                              NAML OF PAYER IF                      DLS('RIPTI()N /\ND
                                                    OTHLR THAN DI~BTOR                    VALUL OF PROPLRT\{




              to. Other transfers
~OIlC


[(]            a. List all other property. other than property transferred in the ordinary course or the business or fin.mcial arfairs or
              the debtor. transferred either al solutcly or as security within two years immediately preceding the conuncnccmcm of
              this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both xpousc»
              whether or not a joint petition i ~ filed. unless the spouses arc separated and a joint petition is not filcd.)

              NAMI': AND ADDRESS                              DATE                       DFSCRIBL PROPFRT'r'
              01<'   ·1'RANSI:ERI~I~.                                                    TRANSFERRIJ) AND
              RELATIONSI lIP TO DEBTOR                                                   VAI>l II: RI·:('I,:IVI,,!)


'\011('


[(]           b. List all property transferred by the debtor within tcn years immcdiatcb preceding the commencement o lthi-; cu-e
              to a self-settled trust or similar .lcvicc ofwhich the debtor is a beneficiary.

              NAME OF TRUST OR (rnIEI{                        DATL(S) OF                 AM 0 t. 1\T 0 F rvl () N F'{ () R I) I SC RI          rn () ;\
              DEVICE                                          TRANSI:ER(S)               AND VALLiE 01: PROPLRTY OR [)IJ~lO'C\
                                                                                         INTI~RLST IN PROPLRlY




              I I. Closed financial accounts

:'-JOI1C      List all financial accounts and i.istrumcnts held in the name of the debtor or for the benefit or the debtor which \\ CI'l'
[{]           closed. sold. or otherwise transferred within onc year inuncdiatcly preceding the commcnccmcr.t of this C;ISC. lncludc
              checking, SLlV iilgs, or other fina.tciul accounts. certificates or deposit. or other instruments: shares and share account';
              held in hanks. credit unions. pension funds, cooperatives, associations. brokerage houses and other financial
              institutions. (Married debtors Iiling under chapter 12 or chapter J must include inform.uion concern ing account'; or
                                                                                    :1


              instruments held by or lor either or both spouses whether or not a joint petition is filed. i.nlcx-: the spouses arc
              separated and a joint petition is not fi lcd.)

              NAME AND ADDRESS                     TYPL OJ." ACCOlJ~T. LAST ','OUR                                   A fvl() t ::\ T .\ N I)
              OF INSTITUTION                       DI(iITS OF ACCOUNT NlirvlnFR.                                     DATI· 01: SAil­
                                                   AND AMOUNT OF I:INAL BALAI\CL                                     OR CIOSIJ\Ci
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           12. Safe deposit boxes

          List each safe deposit or other l-ox or depositor) in which the debtor ha~ or had securities. cash. or other vaiuuhlc­
          within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 1.2 or
          chapter 13 must include boxes or depositories of either or both spouses whether or not a joint petition is Iiled. unlc-«
          the spouses arc separated and a joint petition is not fiicd.)

          NAME AND ADDRESS              NAiv1 ES AN D ADDRESSES              DLSCRIPTION         DI\TI-: 01: TRA '\JSI·T R
          OF BANK OR                    OF TIIOSE \\/ITII ACCI~SS            01,'                OR SlfRRFNDI·R.
          OTHER DEPOSITORY              '1':) BOX OR DEPOSITORY              CONTLNTS            IF ,\N'{




          13. Setoffs


o
None      List all setoffs made by any crc.litor, including a hank. against a debt or deposit ofthe debtor within t)O days preceding
          the commencement of this case (Married debtors filing under chapter 12 or chapter 13 mus! include information
          concerning either or both spous,» whether or not a joint petition is f led. unless the spouses arc separated and a joint
          petition is not filcd.)

          NAME AND ADDRLSS                              DATI~      OF                            Aivl(){JN'I'
          OF CREDITOR                                   SI·:'I'()I,'I:                           OF SETOFF




          14. Property hcld for annthcr pcrson

None      List all property owned by anot icr person that the debtor holds or controls.
o
          NAME AND ADDRESS                              DESCRIPTION AND                          LOCATION OF PROPI· RlY
          OF OWNER                                      VALUE OF PROPERTY




          15. Prior address of debtor

None

D         Ifdebtor has moved within three years immediately preceding the commencement of this case. list all premises
          which the debtor occupied during that period and vacated prior to the commencement ofthis case. lfa joint petition is
          tiled, report also any separate address of either spouse.

          ADDRESS                                      NAME USED

 824 Dartmouth                                         Akilah huisar                            March-May 2015
 Matteson, IL 60443
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           16. Spouses and Former Spouses

None      I f the debtor resides or resided In a COnlI11UI1Ity property state. commonwealth. or territory (including Alaska. Arizona.
          California. Idaho. Louisiana. Nevada. New Mexico. Puerto Rico. Texas. Washington, or Wisconsin) within eight
          years immediately preceding tlc C0111111CnCcnlcnt of the case. identify the name ofthe debtor's SPOUS(: and of
          any former spouse who resides or resided with the debtor in the community properly state.

          NAMF




           17. Fnvirnnmcntal lnfnrrnatiun.

           For the purposc of this qucstior . the following definitions apply:

          "Environmental l.aw" means allY federal. state. or local statute or regulation regulating pollution. contarnination.
          releases of hazardous or toxic substances. wastes or material into the air. land. soil. surface water. groundwater. or
          other medium, including. but not limited to. statutes or regulations regulating the cleanup of these substances. wastes.
          or material.

          "Site" means any location. facility. or property as defined under any Environmental Law. whether or not presently or
          formerly owned or operated by the debtor. including. but not limited to.. disposal sites.

          "l luzardous Material" 1l1C<lnS anything defined as a hazardous waste, hazardous substance. toxic substance. hazardous
          material. pollutant. or contaminant or similar term under an Environmental Law.


          a. I Jist the name and address 01' every site for which the debtor has received notice in writing by a governmental
          unit that it Ina)' be liable or potentially liable under or in violation of an Environmental Law. Indicate the
          governmental unit. the date of the notice, and. if known, the Environmental Law:

          SITE NAML                      1\ A~IF AND ADDRESS                       DATE OF             ENYI RON M EN'I'AI"
          AND !\DDRLSS                   (IF   ClOVFRNIY1ENTAL UNIT                NOTICE              LA \V




None      b. List the name and address o icvcry site for which the debtor provided notice to a govcrnmcntal un.t ora release
[{]       of I lazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

          SITE NAML                      (\ AIYH·: AND ADDRFSS                    DATE OF              I:NVI RON M LN'I',\I_
          AND ADDRLSS                    (IF  (iOVERNMENTAL UNIT                  NOTICL               LAW




None      c. List all judicial or adruinistr.itivc proceedings. including settlements or orders. under any Fnvironmcntal I.aw with
[{]       respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party
          to the proceeding. and the docket number.

          NAME AND ADDRESS                                    DOCKET NUI\1HER                          STATUS OR
          OF CiOVLRNMFNTAL {[NIT                                                                       DISPOSITION




          18 . Nature, location and name of business

None      a. Ifthe debtor is 0/1 individua ', list the names, addresses. taxpayer-identification numbers. nature or the businesses.
[{]       and beginning and ending dates of all businesses in which the debtor was an officer. director. partner. or rnanaging
          executive or a corporation. partner in a partnership. sole proprietor. or was self-employed in a trade. profession. or
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             I declare under penalty o lpcrj.rry that I have read the answcr-. contained in the lorq!()ill~                                                                     statell1ellt tl/'lilldllcidl ;lIlair~
             and an) auachmcnt-, thereto arid that the) arc true dilL! correct


              Date


              Date                                                  Signature or Joint Ircbtor (i rail) )




             I declare under penaltv of perjury tha [have read the answers contained in the foregoing statement of financial afliurs and am attachment»
             thereto and that they arc true and corr cct to the best of my knowledge, mformation and bel icl.                              ­




              Date




                                                                                                   Print Name and T!tle


                           [An individual slgnlllg on bchal tola partnership or corporation muxt indicate POSition or relatl(1/1Shlp to debtor




                                                                                        continuation sheets attached


                     l'cnal tvtor   lIlaklllg   a tulscstutcme n'   lin« of ill}   IIJ ,')'5IJo.(j(j() IJr IIJlIJr/\IJI/lJi('JiI/ur   "l? IIJ 5 vcars,   or   liotl:   IS   I   .\ (




             DECLAH.ATIOi\' A:\D SIGi'ATl'H.E OF                         ~Ol\-ATTOH.~EY                    BANKIUIPTCY PETITIOi'                              PI~EP:\REI{ (See                II   i.s.c.       ~   110)

   I declare under penalty of perj urv that: ( 1) I am a bankruptcy petition prcparcr as dcfi ned III I I :, S C ~ 1I ()~ (2) I prepared th I -; doc umcnt flJr
                                                                                                                                             J


compensation and have provided the debtor with a copy of this document and the notices and Information required under 11 USC' ~,~ 110(b), I ]O(ln and
342(b): and, (3) ilrulcs or guidelines have been ponu.lgatcd pursuant to 1) USC ~ ) lO(ln setting a maxnnum lCe II)r Sl.T\ ICC', c!wrt':ahk h\ hankruptl'\
petition prcparcrs, I have given the debtor notice ofthe maximum amount before preparJn~ am dotumcn: l~)[ filln~ for a debtor l)[ alT-.:ptlng ~111\ ILl.'lr(ll1.
the debtor. as required by that section




  Printed or Typed Name and Title, I I' any, of Ban" ruptcv Petition Prcparcr                                             Soci.rl-Sccuru. No (Required 1)\ 11 r: S C                                ~   ] 1(I   )




Itthe bunkruptcvpcnt mn prvpurc: IS not (Ill nuhvt.Iua], SI(/Ie th: name,                        1IIIe Of (//1\'),    uddr:... -.     Ul/d\rl(/ul-\('CllrJI\ 11l{1Il!'('!"        (II flit'   1)/llll'I"   /N'II/(/(l':!.
rcsponsibl« /)("..\01/, or partner wlu, slg!lS //IIS docuncnt.




  Address



  Signature of Bankruptcy Petition Prcparcr                                                                               [)a1c


Names and Social-Security numbers or all other inc ividualx who prepared or assisted I n preparing till -; document dnlcs'- the hank ru Plc\:1l'lltl<l11 prl~p~;rl.'r I"
not an indi Vidual

I f more than one person prepared t his document. attach add nional signed sheets con form i ng lo the ~I ppropriutc ()ITiCial lorm l( lr l'ae h p-' r',\lll


A bankruptcy petition preparer'sfailure to comoly with the provisions oftitle / land the Federal Rule," ofBankruptcv Procedure muv result ill
fines or imprisonment or both. /8 U.S. C. ,~' /5fJ.
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                               United States Bankruptcy Court
                            _N~E~f1tmt_ District Of Ib~1f12j2_
In re

                                                                                Case No.      --_.-._--_._-------~--




Debtor                                                                          Chapter __   ~            _


               DISCLOSURE OF C()MPENSATION OF                              AT1~()RNE\1 F-'()R D]~B'l~()~~


1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above­
     named debtor(s) and that compensation paid to me within one year before the filing of the petition in
     bankruptcy, or agreed to be p ai d to me, for services rendered or to be rendered on behalf of the debtor(s)
     in contemplation of or in connection with the bankruptcy case is as follows:


     For legal services, I have agreed to accept                                                           .       $-_Q_----­
     Prior to the filing of this statement I have received                                                                D
     Balance 0 ue                                                          ,...................                .         o
2. The source of the compensatior paid to me was:


             D    Debtor                 [J o ther   (specify)


3. The source of compensation to De paid to me is:


          / D Debtor                    [J Other (specify)
4.   IV   I have not agreed to share the above-disclosed compensation with any other person unless t iey are
          membersand asso ciates of rny law firm.


     D    I have agreed to share the atove-disclosed compensation with a other person or persons who are not
          members or associates of     my law firm. A copy of the aqrcement. together with a list of the rame s of
          the people sharing in the corn pen sation, is attach ed .


.5. In return for the above-disclosecl fee, I have agreed to render legal service for all aspects of the bankruptcy
     case, i ncl ud i ng:


     a. Analysisofthe debtor's financial situation, and rendering advice to the debtor in deterrn irunq whether
          to file a petition in bankruptcy;


     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;


     c.   Representati on of the debto r at th e m eeti ng of cred ito rs and co nfi rm ati on heari ng, an d any adj     0 U rn ed

          heari ngs thereof;
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   d. Representation of the debtor in adversary proceedings and other contested bankruptcy matters:

   e. [Other provisions as needed]




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                              CffiTIFICATION



        I certify that the foregoing is a complete statement of any agreement or arrangernent for
     payment to me for representation of the debtor(s) in this bankruptcy proceedings.




               Deto                                         Elgnature of Attorney


                                                              Ronald l.orsch
                                                            Narne   orlaw firm
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  Fill in this information to identify your case:                                                              Check one b9X only as dlrect~d in this form and i
                                                                                                               Form 22A.1~upp:                    I




 Debtor 1              Akilah
                       First Name             Middle Name


 Debtor 2
                                                                                                              !if 1. There is no presumption of abuse.
                                                                                                          i
 (Spouse, if filing)   First Name             Middle Name                      l.ast Name
                                                                                                          I   0   2. The calculation to determine If a presumption 0:
 United States Bankruptcy Court for the       Northern Dis .rict of Illinois
                                                                                                          I          abuse applies will be made under' Cneoter? (/1ea05;
                                                                                                   I      i         Test Ceicuteuon (Official F orrn 2~.';--2

 Case number                                                                                              I U     3. The Means Test does not apply r ow because ct   I
  iif   KnOWr~)

                                                                     _ _J                                            qualified military servrce but it could apPI~~~~


                                                                                                              o   Check if this is all amended filing

OFFICIAL FORM          B 22A1

Chapter 7 Statement of Your Current Monthly Inconne
Be as complete and accurate as possible. If two married people are filing together, both are equally respons ible for beinq accurate. If more space
is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On tile top of any additional
pages, write your name and case number (if known), If you believe that you are exempted from a presurnption of abuse because you clo not have
primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under
§ 707(b)(2) (Official Form 22A-1Supp) with this form.

_ _ Calculate Your Current Monthly Iincome

 1. What is your marital and filing status? Check one only.
         ~   Not married. Fill out Column ,A, lines 2-11.
         o   Married and your spouse is filing with yo       J.   Fill out both Columns A and B, lines 2-11.

         o   Married and your spouse is NOT filing with you. You and your spouse are:

              o     Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11 .

              o    Living separately or are legally separated. Fill out Column A, lines 2-11 , do not fill out Column E3. By checkinq this box, you declare
                   under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse
                   are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B)

         Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy
         case. 11 U.S.C. § 101 (1OA). For example, if yOL are filing on September 15, the 6--month period would be March 1 through Auqust 31. If the
         amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in tile result. Do not
         include any income amount more than once. FOI" example, if both spouses own the same rental property. put the income from that property in
         one column only. If you have nothing to report fc r any line, write $0 in the space.

                                                                                                               Column A            Column B
                                                                                                               Debtor 1            Debtor 2 or
                                                                                                                                   non-filing spouse

 2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
    payroll deductions).                                                                                       $------­             s       .         _
 3. Alimony and maintenance payments. Do not include payments from a spouse if
                                                                                                               $---­                $ _ _._ _
    Column B is filled in.

 4. All amounts from any source which are requl.arly paid for household expense's
    of you or your dependents, including child support. Include regular contributions
    from an unmarried partner, members of your household your dependents, parents.
    and roommates. Include regular contributions frc m a spouse only if Column B is not
    filled in. Do not include payments you listed on Ii re 3.                                                  $---­                s__._ _
 5. Net income from operating a business, profusston, or farm
        Gross receipts (before all deductions)                                 $
        Ordinary and necessary operating expenses                         -$

        Net monthly income from a business, profession or farm                 $            Copy here-+        $- - - - -           $- - - - - ­


 6. Net income from rental and other real property
    Gross receipts (before all deductions)                                     $
        Ordinary and necessary operating expenses                         -$

        Net monthly income from rental or other real property                  $            Copy here-+        $- - - - -           $. - - _ . _ - ­

 7. Interest, dividends, and royalties                                                                         $- - - - -           s. _ - - - - ­

Official Form B 22A 1                            Chapter 7 Statement of Your Current Monthly Income                                                             paqe 1
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                                                                                                                                                              Coturnr. B
                                                                                                                                 Debtor 1                     Debtor 2 or
                                                                                                                                                              non-filing spouse

 8. Unemployment compensation
                                                                                                                                       $----                    $-----­
     Do not enter the amount if you contend that the amount received was a benefit
     under the Social Security Act. Instead, list it here:....                          .......   ~
        Foryou                                 ,...........                     $                     _

        For your spouse                                                         $                     _
 9. Pension or retirement income. Do not includ ~ any amount received that was a
     benefit under the Social Security Act.                                                                                            $-------                 $------­
 10. Income from all other sources not listed above. Specify the source and amount.
     Do not include any benefits received under the Social Security Act or payments received
     as a victim of a war crime, a crime against humanity, or international or domestic
     terrorism. If necessary, list other sources on a separate page and put the tara; on line 1 Oc.

      10a.      VA Disability                                                                                                          $   1,026.0~2
      10b.      Food Stamps                                                                                                            $ 194.00 __

      10c. Total amounts from separate pages. if ar y.                                                                          +$----_.                      +$-----­



                                                                                                                                                                                     =~~2~;~J
 11. Calculate your total current monthly income. Add lines 2 through 10 for each
     column. Then add the total for Column A to the total for Column B.
                                                                                                                                                                                           Total current monthly


l1li
                                                                                                                                                                                           income

                 Determine Whether the Means 'Test Applies to You

 12. Calculate your current monthly income for the year. Follow these steps:

     12a.       Copy your total current monthly income from line 11                                   ..        .................. ,         "        Copy line 11 here-+ 12a.         s~~~~~~~~L
                Multiply by 12 (the number of months in a year).                                                                                                                       X     12
     12b.       The result is your annual income for this part of the form.                                                                                                  '12b      S-Ul$~iLDD


 13. Calculate the median family income that applies to you. Follow these steps:

     Fill in the state in which you live.                                      Illinois

     Fill in the number of people in your household                            3
     Fill in the median family income for your state and size of household                                 ""   ,                                       "        "'"
     To find a list of applicable median income ame unts, !]O online using the link specified in the separate
     instructions for this form. This list may also be available at the bankruptcy clerk's office.

 14. How do the lines compare?
     14a.   ~     Line 12b is less than or equal to line - 3. On the top of page 1, check box 1, There is no presumption of abuse.
                  Go to Part 3.
     14b.   0     Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse                                     IS   determinec by Form 22A-2.
                  Go to Part 3 and fill out Form 22A-2

__                SignBelow


                 By signirw here, I declare under penalty of perjury that the information on this statement and In any attachments                                      IS   true and correct

                         I~                f
                 ~"
                  ~
                           ~       ~~. ~. ~':~~::;;.~
                                  ~-           --     -   -    -----------          -
                                                                                                                X     --      -----~              ----

                     Siqnat "e of Debto 1                                                                             Signature of Debtor L'


                         O~
                     DatelLt
                          MM / DO
                                             J"" .c
                                       i 1)J~LLll~)
                                          / yyyy --
                                                                                                                      Date
                                                                                                                                MM / DD          / YYYY


                 If you checked line 14a, do NOT fill out or file Form 22A-2.

                 If you checked line 14b, fill out Farm 22A-2 and file it with this form.




Official Form B 22A 1                                         Chapter 7 Statement of Your Current Monthly Income
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In re Akilah Huisar                                                                       Case T\o.
                   Debtor

          CHAllTER 7 INl)IVl DlJ,AI~ I)EBT()R'S                          S~rAl"I~MEN~r ()F INrrENr]~I()N


PART A - Debts secured by property of the estate. (Part ,·1 must he/idly completedfor I-:~A('IJ debt which            IS

secured by property ofthe estate, Attach additional pages ifneccsscry.)

 Property No. 1

 Creditor's Name:                                                     Describe Property Securing Debt:                     l
Chase                                                                2008 Jeep Cornmander


 Property wiII be (check      one):
     lYf Surrendered                              [] Retained

 If retaining the property ~ I intend to   (check at least one):
       o Redeem the property
       o Reaffirm the debt
       o Other. Explain                                                      (for example, avoid lien
 using 11 U.S.C. § 522(t)).


 Property is (check one);
     [rl Claimed as exempt                                         C1 Not claimed as exempt

 Property No.2    (ifnecessarv)

 Creditor's Name:                                                    Describe Property   S(~cU ring   Debt:


...--------------,--------1.---,-,-----.-----,---,-------4
 Property w iII be (check one);
     o Surreudcrcd              1--' Retained

 Ifretaining the property, I intend to (check     at least one):
      o Redeem the property
      o Reaffirm the debt
      o Other. Explain ~ . . ~                                               (for example, avoid lien
 using 11 U.S.C. § 522(f)).


 Property is (check one);
     o Claimed as exempt                                           0 Not claimed as exernp:
  Case 15-20630                        Doc 1   Filed 06/15/15 Entered 06/15/15 02:23:45                         Desc Main
                                                Document     Page 48 of 48



B X (Officia: Form 8) (12/Ox)

PART B - Personal property subject to unexpired leases. (,1Ii three columns otl'art                8   /JUtS!   he conrplctcator
each unexpired lease .: !ttach additional /)o;:e,\      nec:«... .sar: ..'

 Property ~~o. I

 Lessor's Name:                                      Describe Leased Property:   Lease wi II be Assi.med pursuant
                                                                                 to 11 lJ .S.C'.   ~   365(p )(2):
 Mack Properties                                     824 Dartmouth Tinley Park
                                                                                 CJ '(ES                n NC)

 Property No. 2     (~II7(!C(!ss(l/~\')


 Lessor's Name:                                      Describe Leased Property:   Lease w: II be Assumed pursuant
                                                                                 to 11 LJ.S.C. ~ 365(p)(2):
                                                                                 n )!ES           CJ NO


 Property No. 3 (ifnecessarv)




                                               J
 Lessor's Name:                                      Describe Leased Property:   Lease wi II be Assumed pursuant
                                                 .                               toll U. S.C.      ~   36) (P)( =~ ):
1-0-_____________ _                                                          ,   CJ     _
                                                                                      v ES               ., N()

        continuation sheets attached (!IoIlY)

I declare under penalty of perju ry that the above indicates my intention as to any property of mv
estate securing a debt and/or personal property subject to an unexpired lease.



                  ~


                   l \l    ijJ ~'{\,.Q_.-
Date:              \.""f




                                                     Signature of Joint Debtor
